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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


HALLEY ASCHER, et al., on behalf of             Master File No. 2:12-md-02311
themselves and all others similarly situated,
                                                Case No.
                              Plaintiffs,
                                                  CLASS ACTION COMPLAINT FOR
       v.                                        DAMAGES AND INJUNCTIVE RELIEF

ROBERT BOSCH GMBH and ROBERT                               JURY TRIAL DEMANDED
BOSCH LLC,

                              Defendants.


IN RE ELECTRONIC BRAKING SYSTEMS
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          Plaintiffs Halley Ascher, Gregory Asken, Melissa Barron, Tenisha Burgos, Jane Butler,

Nathan Croom, Lori Curtis, Jessica Normile, Theresia Dillard, Jane Fitzgerald, Carroll Gibbs, Dori

Gilels, Ian Groves, Curtis Gunnerson, Tom Halverson, Curtis Harr, Andrew Hedlund, Gary Arthur

Herr, John Hollingsworth, Elizabeth Kaufman, Robert Klingler, Bonnie Vander Meulen, Rebecca

Lynn Morrow, Edward Muscara, Stacey Nickell, Roger Olson, James Phelps, William Picotte,

Whitney Porter, Cindy Prince, Frances Gammell-Roach, Darrel Senior, Erica Shoaf, Kathleen

Tawney, Jane Taylor, and Keith Uehara (“Plaintiffs”), on behalf of themselves and all others

similarly situated (the “Classes” as defined below), upon personal knowledge as to the facts

pertaining to themselves and upon information and belief as to all other matters, and based on the

investigation of counsel, bring this class action for damages, injunctive relief, and other relief

pursuant to federal antitrust laws and state antitrust, unfair competition, consumer protection, and

unjust enrichment laws. Plaintiffs demand a jury trial and allege as follows:

                                        NATURE OF ACTION

          1.      This lawsuit is brought as a proposed class action against Defendants Robert Bosch

GmbH and Robert Bosch LLC (together, “Bosch” or “Defendants”)1, named co-conspirators

Continental AG, Continental Teves AG & Co. oHG, Continental Automotive GmbH, and

Continental Automotive Systems, Inc. (together, “Continental”) and unnamed co-conspirators,

manufacturers, and/or suppliers of Electronic Braking Systems (defined below) globally and in the

United States, for engaging in a long-running conspiracy to unlawfully fix, artificially raise,

maintain and/or stabilize prices, rig bids for, and allocate the market and customers in the United

States for Electronic Braking Systems. According to the United States Department of Justice




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    At the time of this filing, Plaintiffs have settled with Bosch.


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(“DOJ”), the automotive parts conspiracies successfully targeted the long-struggling United States

automotive industry, raising prices for automobile manufacturers and consumers alike.

       2.      Plaintiffs seek to represent all persons and entities who, during the period from and

including September 29, 2010 through such time as the anticompetitive effects of Defendants’

conduct ceased (“Class Period”), purchased or leased a new four-wheeled passenger automobile,

van, sports utility vehicle, crossover, or pickup truck (“Vehicle”) in the United States not for resale

which included one or more Electronic Braking System as a component part, which were

manufactured or sold by Defendants, any current or former subsidiary of Defendants, or any co-

conspirator of Defendants.

       3.      Braking systems are an essential input for car manufacturers and there are two main

braking systems available: Electronic Braking Systems—the subject of this complaint—and

hydraulic braking systems. Both systems are made up of additional component parts. Electronic

Braking Systems prevent cars from skidding by providing electronic stability controls when

braking (anti-lock braking system or “ABS”) or under all driving conditions (electronic stability

control or “ESC”). Hydraulic braking systems consist of an actuation system and a foundation

system. The actuation system is further made up of a brake booster and main brake cylinder, while

the foundation system is further made up of a disc brake with saddle or drum brake and wheel

brake cylinder. Both Electronic Braking Systems and hydraulic braking systems can be contained

within the same vehicle.

       4.      Defendants manufacture, market, and/or sell Electronic Braking Systems

throughout and into the United States. Defendants and their co-conspirators agreed, combined, and

conspired to fix, raise, maintain and/or stabilize prices, rig bids, and allocate the market and

customers in the United States for Electronic Braking Systems.




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       5.      The DOJ’s Antitrust Division conducted a broad criminal investigation into illegal

price-fixing and bid-rigging in the automotive parts industry. As part of its criminal investigation,

the DOJ sought information about unlawful anticompetitive conduct in the market for a number of

different but related automotive parts, and the Federal Bureau of Investigation (“FBI”) has

participated in raids, pursuant to search warrants, carried out in the offices of a number of major

competitors in the automotive parts industry. The automotive parts investigation is the largest

criminal investigation the Antitrust Division has ever pursued, both in terms of its scope and its

impact on American consumers and businesses. This cartel investigation of price-fixing and bid-

rigging in the automotive parts industry yielded more than $2.9 billion in criminal fines. The

European Commission’s (“EC”) Directorate General for Competition (“DG Competition”) has

also conducted dawn raids at the European offices of several automotive parts manufacturers.

       6.      On July 13, 2011, TRW applied to the EC for immunity with respect to contacts it

had with Bosch regarding sales of hydraulic braking systems to Daimler. Subsequently, on

November 24, 2011, Bosch submitted a similar application in connection with contacts with TRW

and Continental regarding sales of hydraulic braking systems to Daimler. Finally, in September

2014, the EC carried out inspections of Continental’s premises related to the hydraulic braking

systems conspiracy, leading Continental to submit its own leniency application on December 9,

2014 in connection with contacts between Continental, TRW, and Bosch regarding sales of

hydraulic braking systems to Daimler and BMW and contacts with Bosch regarding sales of

Electronic Braking Systems to VW.

       7.      On February 21, 2018, the EC concluded that TRW, Continental, and Bosch

violated EU competition law by exchanging information with the aim of coordinating their

respective market behaviors, including pricing practices.




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         8.      Defendants and their co-conspirators participated in a combination and conspiracy

to suppress and eliminate competition in the automotive parts industry by agreeing to allocate the

supply of, rig bids for, and to fix, stabilize, and maintain the prices of Electronic Braking Systems

sold to Vehicle manufacturers and others in the United States and globally. The combination and

conspiracy engaged in by Defendants and their co-conspirators was an unreasonable restraint of

interstate and foreign trade and commerce in violation of the Sherman Act, 15 U.S.C. § 1, and state

antitrust, unfair competition, consumer protection, and unjust enrichment laws.

         9.      According to the Commission Decision issued by the EC’s DG Competition,

Defendants and their co-conspirators participated in a set of agreements and concerted practices

concerning the exchange of sensitive business information for the purposes of reducing

competitive uncertainty in the area of sales of Electronic Braking System through:

                 (a)    Participating in meetings and phone conversations to exchange

                 competitively sensitive business information regarding Electronic Braking Systems

                 following the issuance of Requests for Quotation (“RFQs”) for the VW’s MLB evo-

                 platform2;

                 (b)    Discussing, during those meetings and phone conversations, their interest

                 in the contract for VW’s MLB evo-platform;

                 (c)    Disclosing, during those meetings and phone conversations, their intentions

                 for VW’s MLB evo-platform;

                 (d)    Exchanging, during those meetings and phone conversations, competitively

                 sensitive business information on their respective offers;




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    This platform is used to produce certain Audi models and the Porsche Macan.


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               (e)     Exchanging, during those meetings and phone conversations, information

               with a view of reducing competitive uncertainty for the Defendants’ supplies of

               Electronic Braking Systems to VW for the MLB evo-platform.

       10.     As a direct result of the anticompetitive and unlawful conduct alleged herein,

Plaintiffs and the Classes (as defined below) paid artificially inflated prices for Electronic Braking

Systems during the Class Period and have thereby suffered antitrust injury to their business or

property.

                                 JURISDICTION AND VENUE

       11.     Plaintiffs bring this action under Section 16 of the Clayton Act (15 U.S.C. § 26) to

secure equitable and injunctive relief against Defendants for violating Section 1 of the Sherman

Act (15 U.S.C. § 1). Plaintiffs also assert claims for actual and exemplary damages pursuant to

state antitrust, unfair competition, consumer protection, and unjust enrichment laws, and seek to

obtain restitution, recover damages, and secure other relief against Defendants for violations of

those state laws. Plaintiffs and the Classes also seek attorneys’ fees, costs, and other expenses

under federal and state law.

       12.     This Court has jurisdiction over the subject matter of this action pursuant to Section

16 of the Clayton Act (15 U.S.C. § 26), Section 1 of the Sherman Act (15 U.S.C. § 1), and Title

28, United States Code, Sections 1331 and 1337. This Court has subject matter jurisdiction over

the state law claims pursuant to 28 U.S.C. §§ 1332(d) and 1367, in that: (1) this is a class action in

which the matter or controversy exceeds the sum of $5,000,000, exclusive of interest and costs,

and in which some members of the proposed Classes are citizens of a state different from

Defendants; and (2) Plaintiffs’ state law claims form part of the same case or controversy as their

federal claims under Article III of the United States Constitution.




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        13.     Venue is proper in this District pursuant to Section 12 of the Clayton Act (15 U.S.C.

§ 22), and 28 U.S.C. §§ 1391 (b), (c), and (d), because a substantial part of the events giving rise

to Plaintiffs’ claims occurred in this District, a substantial portion of the affected interstate trade

and commerce discussed below has been carried out in this District, and Defendants reside, are

licensed to do business in, are doing business in, have agents in, and are found in or transact

business in this District.

        14.     This Court has in personam jurisdiction over Defendants because Defendants either

directly or through the ownership and/or control of their subsidiaries, inter alia: (a) transacted

business in the United States, including in this District; (b) directly or indirectly sold or marketed

substantial quantities of Electronic Braking Systems throughout the United States, including in

this District; (c) had substantial aggregate contacts with the United States as a whole, including in

this District; and (d) were engaged in an illegal price-fixing conspiracy that was directed at, and

had a direct, substantial, reasonably foreseeable and intended effect of causing injury to the

business or property of persons and entities residing in, located in, or doing business throughout

the United States, including in this District. Defendants also conduct business throughout the

United States, including in this jurisdiction, and they have purposefully availed themselves of the

laws of the United States.

        15.     Defendants engaged in conduct both inside and outside of the United States that

caused direct, substantial and reasonably foreseeable and intended anticompetitive effects upon

interstate commerce within the United States.

        16.     The activities of Defendants and their co-conspirators directly targeted the United

States Vehicle market and were within the flow of, were intended to, and did have, a substantial




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effect on interstate commerce of the United States. Defendants’ products are sold in the flow of

interstate commerce.

          17.   Electronic Braking Systems manufactured abroad by Defendants and sold for use

in Vehicles in the United States are goods brought into the United States for sale, and therefore

constitute import commerce. To the extent any Electronic Braking Systems are purchased in the

United States, and such Electronic Braking Systems do not constitute import commerce,

Defendants’ activities with respect thereto, as more fully alleged herein during the Class Period,

had, and continue to have, a direct, substantial and reasonably foreseeable effect on United States

commerce. The anticompetitive conduct, and its effect on United States commerce described

herein, proximately caused antitrust injury to Plaintiffs and members of the Classes in the United

States.

          18.   By reason of the unlawful activities hereinafter alleged, Defendants’ unlawful

activities substantially affected commerce throughout the United States, causing injury to Plaintiffs

and members of the Classes. Defendants directly and through their agents, engaged in activities

affecting all states, to fix, raise, maintain and/or stabilize prices, rig bids and allocate the market

and customers in the United States for Electronic Braking Systems, which conspiracy

unreasonably restrained trade and adversely affected the market for Electronic Braking Systems.

          19.   Defendants’ conspiracy and wrongdoing described herein adversely affected

persons in the United States who purchased or leased a new Vehicle in the United States not for

resale which included one or more Electronic Braking Systems.

                                             PARTIES

                                              Plaintiffs

          20.   Plaintiff Halley Ascher is a District of Columbia resident who purchased at least

one Electronic Braking System indirectly from Defendants or their co-conspirators.


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       21.    Plaintiff Gregory Asken is a Nevada resident who purchased at least one Electronic

Braking System indirectly from Defendants or their co-conspirators.

       22.    Plaintiff Melissa Barron is a California resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       23.    Plaintiff Tenisha Burgos is a New York resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       24.    Plaintiff Jane Butler is a Wisconsin resident who purchased at least one Electronic

Braking System indirectly from Defendants or their co-conspirators.

       25.    Plaintiff Nathan Croom is a Nebraska resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       26.    Plaintiff Lori Curtis is a Missouri resident who purchased at least one Electronic

Braking System indirectly from Defendants or their co-conspirators.

       27.    Plaintiff Jessica Normile is a Missouri resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       28.    Plaintiff Theresia Dillard is a Mississippi resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       29.    Plaintiff Jane Fitzgerald is a Vermont resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       30.    Plaintiff Carroll Gibbs is a District of Columbia resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       31.    Plaintiff Dori Gilels is a Montana resident who purchased at least one Electronic

Braking System indirectly from Defendants or their co-conspirators.




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       32.    Plaintiff Ian Groves is a New Mexico resident who purchased at least one Electronic

Braking System indirectly from Defendants or their co-conspirators.

       33.    Plaintiff Curtis Gunnerson is a Minnesota resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       34.    Plaintiff Tom Halverson is an Arizona resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       35.    Plaintiff Curtis Harr is a North Dakota resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       36.    Plaintiff Andrew Hedlund is a South Carolina resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       37.    Plaintiff Gary Arthur Herr is a Florida resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       38.    Plaintiff John Hollingsworth is a California resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       39.    Plaintiff Elizabeth Kaufman is a Florida resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       40.    Plaintiff Robert Klingler is a Missouri resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       41.    Plaintiff Bonnie Vander Meulen is a Wisconsin resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       42.    Plaintiff Rebecca Lynn Morrow is an Arizona resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.




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       43.    Plaintiff Edward Muscara is a New Hampshire resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       44.    Plaintiff Stacey Nickell is a West Virginia resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.

       45.    Plaintiff Roger Olson is a Michigan resident who purchased at least one Electronic

System indirectly from Defendants or their co-conspirators.

       46.    Plaintiff James Phelps is a Maine resident who purchased at least one Electronic

Braking System indirectly from Defendants or their co-conspirators.

       47.    Plaintiff William Picotte is a former South Dakota resident who purchased at least

one Electronic Braking System indirectly from Defendants or their co-conspirators.

       48.    Plaintiff Whitney Porter is a District of Columbia resident who purchased at least

one Electronic Braking System indirectly from Defendants or their co-conspirators.

       49.    Plaintiff Cindy Prince is a California resident who purchased at least one Electronic

Braking System indirectly from Defendants or their co-conspirators while a resident of Langlois,

Oregon.

       50.    Plaintiff Frances Gammell-Roach is a Rhode Island resident who purchased at least

one Electronic Braking System indirectly from Defendants or their co-conspirators.

       51.    Plaintiff Darrel Senior is a Kansas resident who purchased at least one Electronic

Braking System indirectly from Defendants or their co-conspirators.

       52.    Plaintiff Erica Shoaf is an Arizona resident who purchased at least one Electronic

Braking System indirectly from Defendants or their co-conspirators.

       53.    Plaintiff Kathleen Tawney is a North Carolina resident who purchased at least one

Electronic Braking System indirectly from Defendants or their co-conspirators.




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       54.     Plaintiff Jane Taylor is a Hawaii resident who purchased at least one Electronic

Braking System indirectly from Defendants or their co-conspirators.

       55.     Plaintiff Keith Uehara is a Hawaii resident who purchased at least one Electronic

Braking System indirectly from Defendants or their co-conspirators.

                                             Defendants

       56.     When Plaintiffs refer to a corporate family or companies by a single name in the

Complaint, they are alleging that one or more employees or agents of entities within that corporate

family engaged in conspiratorial acts on behalf of every company in that family. The individual

participants in the conspiratorial acts did not always know the corporate affiliation of their

counterparts, nor did they distinguish between the entities within a corporate family. The

individual participants entered into agreements on behalf of their respective corporate families. As

a result, those agents represented the entire corporate family with respect to such conduct, and the

corporate family was party to the agreements that those agents reached.

Bosch Defendants

       57.     Defendant Robert Bosch GmbH is a German corporation with its principal place of

business in Gerlingen, Germany. During the class period, Defendant Robert Bosch GmbH –

directly and/or through its subsidiaries, which it wholly owned and/or controlled – manufactured,

marketed and/or sold Electronic Braking Systems that were sold and purchased throughout the

United States, including in this District.

       58.     Defendant Robert Bosch LLC is a Delaware corporation with its principal place of

business at 38000 Hills Tech Drive, Farmington Hills, Michigan. On information and belief, it is

a subsidiary and wholly owned and/or controlled by its parent, Robert Bosch GmbH. On

information and belief, Defendant Robert Bosch LLC manufactured, marketed and/or sold




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Electronic Braking Systems that were sold and purchased throughout the United States, including

in this District, during the Class Period.

                                 AGENTS AND CO-CONSPIRATORS

        59.         Defendants acted as the principals of or agents for the unnamed co-conspirators

with respect to the acts, violations, and common course of conduct alleged herein.

        60.         Various persons, partnerships, sole proprietors, firms, corporations and individuals

not named as defendants in this lawsuit, and individuals, the identities of which are presently

unknown, have participated as co-conspirators with Defendants in the offenses alleged in this

Complaint, and have performed acts and made statements in furtherance of the conspiracy or in

furtherance of the anticompetitive conduct.

        61.         Whenever in this Complaint reference is made to any act, deed or transaction of

any corporation or limited liability entity, the allegation means that the corporation or limited

liability entity engaged in the act, deed or transaction by or through its officers, directors, agents,

employees or representatives while they were actively engaged in the management, direction,

control or transaction of the corporation’s or limited liability entity’s business or affairs.

Continental Co-Conspirators

        62.         Co-Conspirator Continental AG is a German corporation with its principal place of

business in Hannover, Germany. During the class period, Continental AG – directly and/or through

its subsidiaries, which it wholly owned and/or controlled – manufactured, marketed and/or sold

Electronic Braking Systems that were sold and purchased throughout the United States, including

in this District.

        63.         Co-Conspirator Continental Teves AG & Co. oHG is a German corporation with

its principal place of business in Frankfurt, Germany. On information and belief, it is a subsidiary

and wholly owned and/or controlled by its parent, Continental AG. On information and belief,


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Continental Teves AG & Co. oHG manufactured, marketed and/or sold Electronic Braking

Systems that were sold and purchased throughout the United States, including in this District,

during the Class Period. On information and belief, at all times during the Class Period,

Continental Teves AG & Co. oHG’s activities in the United States were under the control and

direction of its German parent.

       64.     Co-Conspirator Continental Automotive GmbH is a German corporation with its

principal place of business in Hannover, Germany. On information and belief, it is a subsidiary

and wholly owned and/or controlled by its parent, Continental AG. On information and belief,

Continental Automotive GmbH manufactured, marketed and/or sold Electronic Braking Systems

that were sold and purchased throughout the United States, including in this District, during the

Class Period. On information and belief, at all times during the Class Period, Continental

Automotive GmbH’s activities in the United States were under the control and direction of its

German parent.

       65.     Co-Conspirator Continental Automotive Systems, Inc. is a Delaware company with

its principal place of business in Auburn Hills, Michigan. It is an affiliate of and wholly controlled

by its parent, Continental AG. Continental Automotive Systems, Inc. – directly and/or through its

subsidiaries, which it wholly owned and/or controlled – manufactured, marketed and/or sold

Electronic Braking Systems that were purchased throughout the United States, including in this

District, during the Class Period.

                                     FACTUAL ALLEGATIONS

       A.      The Braking Systems Industry

       66.     Braking systems are an essential input for car manufacturers. The two most

common systems available are Electronic Braking Systems and hydraulic braking systems, both

of which consist of various component parts.


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       67.     Electronic Braking Systems prevent cars from skidding by providing electronic

stability controls when braking (ABS) or under all driving conditions (ESC). Hydraulic braking

systems consist of an actuation system and a foundation system. The actuation system is further

made up of a brake booster and main brake cylinder, while the foundation system is made up of a

disc brake with saddle or drum brake and wheel brake cylinder. Both Electronic Braking Systems

and hydraulic braking systems can be contained within the same vehicle.

       68.     Electronic Braking Systems are installed by OEMs in Vehicles as part of the

automotive manufacturing process.

       69.     For Vehicles, the OEMs – mostly large automotive manufacturers such as Daimler,

BMW, and VW – purchase Electronic Braking Systems directly from Defendants and/or their co-

conspirators. Electronic Braking Systems may also be purchased by component manufacturers

who then supply such systems to OEMs. These component manufacturers are also called “Tier 1

Manufacturers” in the industry. Tier 1 Manufacturers supply Electronic Braking Systems directly

to an OEM.

       70.     When purchasing Electronic Braking Systems, OEMs issue RFQs to automotive

parts suppliers on a model-by-model basis for model specific parts. Automotive parts suppliers

submit quotations, or bids, to OEMs in response to RFQs, and the OEMs usually award the

business to the selected automotive parts supplier for the lifespan of the model, which is usually

four to six years. Typically, the bidding process for a particular model begins approximately three

years prior to the start of production, and Electronic Braking Systems are developed over a year in

advance of a Vehicle entering the market. OEMs procure Electronic Braking Systems and other

parts for U.S.-manufactured Vehicles in the United States and elsewhere.




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       71.     Defendants and their co-conspirators supplied Electronic Braking Systems to

OEMs for installation in Vehicles sold in the United States and elsewhere.

       72.     Plaintiffs and members of the proposed Classes purchased Electronic Braking

Systems indirectly from one or more of Defendants and their co-conspirators. By way of example,

an owner of a Vehicle may indirectly purchase one or more Electronic Braking System from

Defendants or their co-conspirators as part of purchasing or leasing a new Vehicle.

               (a)     The Structure and Characteristics of the Electronic Braking Systems
                       Market Render the Conspiracy More Plausible.

       73.     The Electronic Braking Systems market in the United States is conducive to a price-

fixing agreement because of its structure and other characteristics, which have made collusion

particularly attractive in this market. Specifically, the Electronic Braking Systems market: (1) has

high barriers to entry and (2) has inelasticity of demand.

                       (i)     The Electronic Braking Systems Market Has High Barriers to
                               Entry.

       74.     A collusive arrangement that raises product prices above competitive levels would,

under basic economic principles, attract new entrants seeking to benefit from the supra-competitive

pricing. Where, however, there are significant barriers to entry, new entrants are less likely to enter

the market. Thus, barriers to entry help to facilitate the formation and maintenance of a cartel.

       75.     There are substantial barriers that preclude, reduce, or make more difficult entry

into the Electronic Braking Systems market. A new entrant into the business would face costly and

lengthy start-up costs, including multi-million-dollar costs associated with manufacturing plants

and equipment, energy, transportation, distribution infrastructure, skilled labor, and long-standing

customer relationships.

                       (ii)    There is Inelasticity of Demand for Electronic Braking
                               Systems.



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        76.     “Elasticity” is a term used to describe the sensitivity of supply and demand to

changes in one or the other. For example, demand is said to be “inelastic” if an increase in the

price of a product results in only a small decline in the quantity sold of that product, if any. In other

words, customers have nowhere to turn for alternative, cheaper products of similar quality, and so

continue to purchase despite a price increase.

        77.     For a cartel to profit from raising prices above competitive levels, demand must be

relatively inelastic at competitive prices. Otherwise, increased prices would result in declining

sales, revenues, and profits, as customers purchased substitute products or declined to buy

altogether. Inelastic demand is a market characteristic that facilitates collusion, allowing producers

to raise their prices without triggering customer substitution and lost sales revenue.

        78.     Demand for Electronic Braking Systems is highly inelastic because there are no

close substitutes for these products. In addition, customers must purchase Electronic Braking

Systems as an essential part of a Vehicle, even if the prices are kept at a supra-competitive level.

        B.      Government Investigations

        79.     A globally coordinated antitrust investigation took place in the United States,

Europe, Canada, and Japan, aimed at suppliers of automotive parts in general. A Japan Fair Trade

Commission official initially told a leading legal publication that the international automotive parts

supplier investigation would continue to widen because the automotive industry as a whole

comprises many sub-industries. He characterized the investigations being conducted by

international antitrust authorities at the time as “large and broad,” and he declined to deny that this

“would be history’s largest case.”

        80.     The antitrust probe originated in Europe as the result of several European OEMs

coming together to bring a complaint to the EC. The EC and the FBI executed surprise raids at the



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European and U.S. offices of several automotive parts manufacturers as part of an investigation

into anticompetitive conduct related to the manufacturing and sale of automotive parts.

       81.     On February 8, 2010, the EC executed surprise raids at the European offices of

certain automotive parts makers. The DOJ has confirmed that its automotive parts investigation is

the largest criminal investigation that the Antitrust Division has ever pursued, both in terms of its

scope and the potential volume of commerce affected by the illegal conduct. To date, as a result

of its widespread investigation, the DOJ has charged more than 100 individuals and companies

with criminal antitrust violations and the DOJ has levied, to date, more than $2.9 billion in criminal

fines against various automotive parts manufacturers.

       C.      Existence of Cooperating Defendants in Foreign Investigations

       82.     The EC provides immunity under the Commission Notice on immunity from fines

and reduction of fines in cartel cases (“Leniency Notice”).3 On July 13, 2011, TRW applied for

such immunity in respect to bilateral contacts it had with Bosch regarding sales of braking systems

to Daimler.

       83.     On November 24, 2011, Bosch submitted an application under the Leniency Notice

in connection to bilateral contacts with TRW and Continental regarding sales of hydraulic braking

systems to Daimler. Based on this information, the EC carried out inspections of Continental’s

premises related to the hydraulic braking systems conspiracy in September 2014.

       84.      On December 9, 2014, Continental submitted a leniency application revealing

contacts with Bosch regarding sales of Electronic Braking Systems to VW, as well as bilateral

contacts with TRW and Bosch regarding sales of hydraulic braking systems to Daimler and BMW.




3
  Commission Notice on immunity from fines and reduction of fines in cartel cases, OJ C 298,
8.12.2006, p. 17.


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       85.     On February 21, 2018, the EC concluded that Bosch and Continental violated EU

competition law by exchanging information with the aim of coordinating their respective market

behaviors, including pricing practices. For the Electronic Braking Systems conspiracy, Bosch was

fined €19,348,000. Continental, having successfully fulfilled its cooperation requirements as the

immunity applicant, was granted immunity from fines. For the hydraulic braking systems

conspiracy, Bosch and Continental were each fined €12,072,00 and €44,006,000, respectively,

while TRW received immunity from fines for successfully fulling its immunity applicant

obligations.

       D.      Additional Criminal Pleadings in the Automotive Parts Industry

       86.     On September 29, 2011, the DOJ announced that Furukawa Electric Co. Ltd. agreed

to plead guilty and pay a $200 million criminal fine for its role in a criminal price-fixing and bid-

rigging conspiracy involving the sale of automotive wire harnesses and related products to

automobile manufacturers.

       87.     In the press release announcing the fine against Furukawa Electric Co. Ltd., Sharis

A. Pozen, then the Acting Assistant Attorney General in charge of the DOJ’s Antitrust Division,

said that “[a]s a result of this international price-fixing and bid-rigging conspiracy, automobile

manufacturers paid noncompetitive and higher prices for parts in cars sold to U.S. consumers.”

Ms. Pozen also stated that “[t]his cartel harmed an important industry in our nation’s economy,

and the Antitrust Division with the Federal Bureau of Investigation will continue to work together

to ensure that these kinds of conspiracies are stopped.” The press release also quoted FBI’s Special

Agent in Charge Andrew G. Arena, who said that “[w]hen companies partner to control and price

fix bids or contracts, it undermines the foundation of the United States’ economic system,” and

that “[t]he FBI is committed to aggressively pursuing any company involved in antitrust crimes.”




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       88.      On January 30, 2012, the DOJ announced that Yazaki Corporation agreed to plead

guilty and pay a $470 million criminal fine and DENSO Corporation agreed to plead guilty and

pay a $78 million criminal fine for their respective involvement in multiple price-fixing and bid-

rigging conspiracies in the sale of automotive parts to automobile manufacturers in the United

States. According to the three-count criminal Information filed against Yazaki, it engaged in three

separate conspiracies: (i) to rig bids for and to fix, stabilize, and maintain the prices of, automotive

wire harnesses and related products sold to certain automobile manufacturers in the United States

and elsewhere; (ii) to rig bids for and to fix, stabilize, and maintain the prices of, instrument panel

clusters (“IPCs”) sold to certain automobile manufacturers in the United States and elsewhere; and

(iii) to fix, stabilize, and maintain the prices of fuel senders sold to an automobile manufacturer in

the United States and elsewhere. According to the two-count felony charge against DENSO

Corporation, it engaged in conspiracies to rig bids for, and to fix, stabilize, and maintain the prices

of, electronic control units (“ECUs”) and heater control panels (“HCPs”) sold to an automobile

manufacturer in the United States and elsewhere.

       89.     In the press release announcing the fines against Yazaki Corporation, its executives,

and DENSO Corporation, Ms. Pozen vowed to continue the investigation into “pernicious cartel

conduct that results in higher prices to American consumers . . . .” In the same press release, Special

Agent in Charge Andrew G. Arena said that “[t]his criminal activity has as significant impact on

the automotive manufacturers in the United States, Canada, Japan and Europe and has been

occurring for at least a decade. The conduct has also affected commerce on a global scale in almost

every market where automobiles are manufactured and/or sold[.]”

       90.     Ms. Pozen said there is no doubt consumers were hurt financially by the

automotive wire harness price-fixing conspiracy. She stated: “By rigging bids on wiring harnesses




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. . . the three companies inflated what some of their auto manufacturer clients paid, and indirectly,

what consumers paid for some cars.”

        91.     On April 3, 2012, the DOJ announced that G.S. Electech Inc. agreed to plead guilty

and pay a $2.75 million criminal fine for its role in a conspiracy to rig bids for, and to fix, stabilize,

and maintain the prices of, speed sensor wire assemblies used on antilock brake systems sold to an

automobile manufacturer in the United States and elsewhere.

        92.     On April 23, 2012, the DOJ announced that Fujikura Ltd. agreed to plead guilty

and pay a $20 million criminal fine for its role in a conspiracy to rig bids for, and to fix, stabilize,

and maintain the prices of, automotive wire harnesses and related products sold to an automobile

manufacturer in the United States and elsewhere.

        93.     On June 6, 2012, the DOJ announced that Autoliv Inc. agreed to plead guilty to a

two-count criminal Information and pay a $14.5 million criminal fine for its involvement in a

combination and conspiracy to suppress competition in the automotive parts industry by (i)

agreeing to rig bids for, and to fix, stabilize, and maintain the prices of, certain seatbelts sold to a

Japanese automobile manufacturer; and (ii) agreeing to rig bids for, and to fix, stabilize, and

maintain the prices of, certain seatbelts, airbags, and/or steering wheels sold to a Japanese

automobile manufacturer.

        94.     On July 30, 2012, the DOJ announced that TRW Deutschland Holding GmbH

agreed to plead guilty and pay a $5.1 million criminal fine for its involvement in a combination

and conspiracy, through its employees, including high level employees of its wholly-owned

subsidiaries, to suppress and eliminate competition in the automotive parts industry by agreeing to

rig bids for, and to fix, stabilize, and maintain the prices of seatbelts, airbags and steering wheels

sold to two German automobile manufacturers in the United States and elsewhere.




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        95.      On August 28, 2012, the DOJ announced that Nippon Seiki Co. Ltd. agreed to plead

guilty and pay a $1 million criminal fine for its involvement in a combination and conspiracy to

suppress competition in the automotive parts industry by agreeing to rig bids for, and to fix,

stabilize, and maintain the prices of, IPCs sold to an automobile manufacturer in the United States

and elsewhere.

        96.      On October 30, 2012, the DOJ announced that Tokai Rika Co. Ltd. agreed to plead

guilty and pay a $17.7 million criminal fine for its involvement in a conspiracy to rig bids for, and

to fix, stabilize, and maintain the prices of, HCPs sold to Toyota Motor Corporation and Toyota

Motor Engineering & Manufacturing North America, Inc. in the United States and elsewhere.

Tokai Rika also agreed to plead guilty to a charge of obstruction of justice related to the

investigation of the antitrust violation.

        97.      On February 15, 2013, Scott Hammond, the Deputy Assistant Attorney General in

the Antitrust Division, discussed the DOJ’s ongoing automotive parts investigation in a Thomson

Reuters article. He said “[t]he investigation is broader than what we’ve announced so far . . . . [The

investigation] is still very much ongoing, but it already appears to be the biggest criminal antitrust

investigation that we’ve ever encountered. I say the biggest with respect to the impact on U.S.

businesses and consumers, and the number of companies and executives that are subject to the

investigation.” (emphasis added).

        98.      On July 16, 2013, the DOJ announced that Diamond Electric Mfg. Co. Ltd. agreed

to plead guilty and pay a $19 million criminal fine for its involvement in a combination and

conspiracy to suppress competition in the automotive parts industry by agreeing to rig bids for,

and to fix, stabilize, and maintain the prices of, ignition coils sold to automobile manufacturers in

the United States and elsewhere.




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       99.     In the press release announcing the fine against Diamond Electric Mfg. Co. Ltd.,

Robert D. Foley III, Agent in Charge, FBI Detroit Division said “[t]hose who engage in price

fixing, bid rigging and other fraudulent schemes harm the automotive industry by driving up costs

for vehicle makers and buyers.”

       100.    On July 18, 2013, Panasonic Corporation agreed to plead guilty and pay a $45.8

million criminal fine for its role in a conspiracy to fix prices of various automotive parts including

high intensity discharge (“HID”) ballasts, switches and steering angle sensors installed in

automobiles sold in the United States and elsewhere.

       101.    On September 26, 2013, nine additional Japanese automotive suppliers agreed to

plead guilty to conspiracy charges and pay more than $740 million in criminal fines for their roles

in rigging the prices of more than 30 different products:

               (a)     Hitachi Automotive Systems Ltd. agreed to plead guilty and pay a $195

               million criminal fine for its participation in a conspiracy to rig bids for, and to fix,

               stabilize and maintain the prices of automotive parts, including, among others, air

               flow meters, fuel injection systems, electronic throttle bodies, and inverters, sold to

               automobile manufacturers in the United States and elsewhere;

               (b)     Mitsuba Corporation agreed to plead guilty and pay a $135 million criminal

               fine for its participation in a conspiracy to rig bids for, and to fix, stabilize and

               maintain the prices of certain automotive parts sold to automobile manufacturers in

               the United States and elsewhere. Mitsuba Corporation’s plea agreement defined

               “automotive parts” to include windshield wiper systems, windshield washer

               systems, starter motors, power window motors, fan motors, radiator fans, door

               mirrors, lamps, power seat motors, sunroof, door and tailgate motors, electric power




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           steering motors, electronic throttle motors, horns, automotive electric relays and

           switches, automotive electric actuators, AC generations, and fuel pumps. Mitsuba

           also agreed to plead guilty to one count of obstruction of justice because of the

           company’s efforts to destroy evidence ordered by a high-level U.S.-based executive

           after learning of the U.S. investigation of collusion in the automotive parts industry;

           (c)     Mitsubishi Electric Corporation agreed to plead guilty and pay a $190

           million criminal fine for its participation in a conspiracy to rig bids for, and to fix,

           stabilize and maintain the prices of certain automotive parts sold to automobile

           manufacturers in the United States and elsewhere. For purposes of Mitsubishi

           Electric Corporation’s plea agreement, “automotive parts” are defined to include,

           AC generators, air bag sensors, electronic control units, exhaust gas recirculation

           valves, fuel injectors, fuel pumps, HID ballasts, ignition coils, integrated units,

           keyless entry systems, MAP sensors, purge control valves, starter motors, throttle

           bodies, variable cam timing, and variable valve timing;

           (d)     Mitsubishi Heavy Industries Ltd. agreed to plead guilty and pay a $14.5

           million criminal fine for its participation in a conspiracy to rig bids for, and to fix,

           stabilize and maintain the prices of compressors and condensers sold to automobile

           manufacturers in the United States and elsewhere;

           (e)     T.RAD Co. Ltd. agreed to plead guilty and pay a $13.75 million criminal

           fine for its participation in a conspiracy to rig bids for, and to fix, stabilize and

           maintain the prices of radiators and automatic transmission fluid warmers (“ATF

           warmers”) sold to automobile manufacturers in the United States and elsewhere;




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              (f)     Valeo Japan Co. Ltd. agreed to plead guilty and pay a $13.6 million criminal

              fine for its participation in a conspiracy to allocate the supply of, rig bids for, and

              to fix, stabilize and maintain the prices of air conditioning systems sold to

              automobile manufacturers in the United States and elsewhere;

              (g)     JTEKT Corporation agreed to plead guilty and pay a $103.27 million

              criminal fine for its participation in a conspiracy to allocate markets, to rig bids for,

              and to fix, stabilize and maintain the prices of bearings and electric powered

              steering assemblies sold to automobile manufacturers in the United States and

              elsewhere;

              (h)     NSK Ltd. agreed to plead guilty and pay a $68.2 million criminal fine for

              its participation in a conspiracy to allocate markets, to rig bids for, and to fix,

              stabilize and maintain the prices of bearings sold to an automobile manufacturer in

              the United States and elsewhere; and

              (i)     Yamashita Rubber Co. Ltd. agreed to plead guilty and to pay an $11 million

              criminal fine for its participation in a conspiracy to rig bids for, and to fix, raise and

              maintain the prices of automotive anti-vibration rubber products sold in the United

              States and elsewhere to automobile manufacturers.

       102.   On the same day, September 26, 2013, then United States Attorney General Eric

Holder presented the DOJ’s most recent findings in the ongoing automotive parts investigation.

He stated “[t]hese international price-fixing conspiracies affected more than $5 billion in

automobile parts sold to U.S. car manufacturers. In total, more than 25 million cars purchased by

American consumers were affected by the illegal conduct.” Then Attorney General Holder also

described how the conspiracies worked: “[c]ompany executives met face to face in the United




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States and Japan – and talked on the phone – to reach collusive agreements to rig bids, fix prices

and allocate the supply of auto parts sold to U.S. car companies. In order to keep their illegal

conduct secret, they used code names and met in remote locations. Then they followed up with

each other regularly to make sure the collusive agreements were being adhered to.” Then Attorney

General Holder explained that the automotive parts conspiracies “targeted U.S. manufacturing,

U.S. businesses and U.S. consumers. As a result of these conspiracies, Americans paid more for

their cars.”

        103.   The diagram below, which was prepared by the DOJ, illustrates the September 26,

2013 guilty pleas and the corresponding automotive parts to which the various manufacturers have

admitted price-fixing.




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       104.    On October 9, 2013, Takata Corporation announced that it agreed to pay $71.3

million to settle antitrust charges brought by the United States federal prosecutors for its role in a

conspiracy to price-fix seatbelts.

       105.    On November 26, 2013, the DOJ announced that Toyo Tire & Rubber Co. Ltd.

agreed to plead guilty and pay a $120 million criminal fine for its role in two separate conspiracies.

Toyo Tire & Rubber Co. Ltd. engaged in a conspiracy to suppress and eliminate competition in

the automotive parts industry by agreeing to allocate sales of, to rig bids for, and to fix, raise, and

maintain the prices of, automotive anti-vibration rubber products sold to Toyota Motor




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Corporation, Nissan Motor Corporation, Fuji Heavy Industries, Ltd., and certain of their

subsidiaries, affiliates and suppliers in the United States and elsewhere, and by agreeing to allocate

sales of, and to fix, raise, and maintain the prices of, automotive constant-velocity-joint boot

products sold to GKN plc and its subsidiaries in the United States and elsewhere.

       106.    On November 27, 2013, the DOJ announced that Stanley Electric Co. Ltd. agreed

to plead guilty and pay a $1.44 million criminal fine for its participation in a conspiracy to fix

prices of automotive HID lamp ballasts installed in automobiles sold in the United States and

elsewhere.

       107.    On January 16, 2014, the DOJ announced that Koito Manufacturing Co. Ltd. agreed

to plead guilty and pay a $56.6 million criminal fine for its roles in separate price-fixing

conspiracies involving automobile lighting fixtures and automotive HID lamp ballasts installed in

cars sold in the United States and elsewhere.

       108.     On February 3, 2014, the DOJ announced that Aisan Industry Co. Ltd. agreed to

plead guilty and pay a $6.86 million criminal fine for its role in a price-fixing conspiracy involving

electronic throttle bodies sold to an automobile manufacturer in the United States and elsewhere.

       109.    On February 13, 2014, the DOJ announced that Bridgestone Corp. agreed to plead

guilty and pay a $425 million criminal fine for its role in a conspiracy to fix prices of automotive

anti-vibration rubber parts installed in automobiles sold in the United States and elsewhere.

       110.    On April 23, 2014, the DOJ announced that Showa Corp. agreed to plead guilty and

pay a $19.9 million criminal fine for its role in a conspiracy to fix prices and rig bids for pinion-

assist type electric powered steering assemblies installed in cars sold in the United States and

elsewhere.




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        111.     On August 19, 2014, the DOJ announced that NGK Sparkplug Co. Ltd. agreed to

plead guilty and pay a $52.1 million criminal fine for its role in a conspiracy to fix prices and rig

bids for spark plugs, standard oxygen sensors, and air fuel ratio sensors installed in cars sold to

automobile manufacturers in the United States and elsewhere.

        112.     On September 29, 2014, the DOJ announced that Toyoda Gosei Co. Ltd. agreed to

plead guilty and to pay a $26 million criminal fine for its involvement in a combination and

conspiracy to suppress competition in the automotive parts industry by agreeing to allocate sales

of, to rig bids for, and to fix, stabilize, and maintain the prices of certain automotive hoses sold to

Toyota in the United States and by agreeing to allocate sales of, to rig bids for, and to fix, stabilize,

and maintain the prices of, automotive airbags and steering wheels sold to Subaru and Toyota in

the United States and elsewhere.

        113.     On October 31, 2014, the DOJ announced that Hitachi Metals Ltd. agreed to plead

guilty and pay a $1.25 million criminal fine for its role in a conspiracy to suppress competition in

the automotive parts industry by agreeing to allocate sales of, rig bids for, and to fix, raise, and

maintain the prices of automotive brake hoses installed in automobiles sold in the United States

and elsewhere.

        114.     On November 13, 2014, the DOJ announced that Aisin Seiki Co. Ltd. agreed to

plead guilty and pay a $35.8 million criminal fine for its role in a conspiracy to allocate customers

of variable valve timing devices installed in cars sold to automobile manufacturers in the United

States and elsewhere.

        115.     On November 24, 2014, the DOJ announced that Continental Automotive

Electronics LLC and Continental Automotive Korea Ltd. agreed to plead guilty and pay a criminal




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fine of $4 million for their roles in a conspiracy to rig bids of IPCs installed in vehicles

manufactured and sold in the United States.

       116.    On January 27, 2015, the DOJ announced that Sanden Corp. agreed to plead guilty

and pay a $3.2 million criminal fine for its participation in a combination and conspiracy to

suppress and eliminate competition in the automotive parts industry by agreeing to fix, stabilize,

and maintain the prices of compressors sold to Nissan in the United States and elsewhere.

       117.    On March 31, 2015, the DOJ announced that Robert Bosch GmbH agreed to plead

guilty and to pay a $57.8 million criminal fine for its role in a conspiracy to fix prices and rig bids

for spark plugs, oxygen sensors and starter motors sold to automobile and internal combustion

engine manufacturers in the United States and elsewhere.

       118.    On April 28, 2015, the DOJ announced that Yamada Manufacturing Co., Ltd.

agreed to plead guilty and to pay a $2.5 million criminal fine for its role in a conspiracy to rig bids

for, and to fix, stabilize, and maintain the prices of steering columns sold to certain subsidiaries of

Honda Motor Co., Ltd., in the United States and elsewhere, from at least as early as the fall of

2007 and continuing until as late as September 2012, in violation of the Sherman Act, 15 U.S.C.

§ 1.

       119.    On September 3, 2015, the DOJ announced that NGK Insulators Ltd. agreed to

plead guilty and to pay a $65.3 million criminal fine for its role in a conspiracy to suppress and

eliminate competition in the automotive parts industry by agreeing to rig bids for, and to fix,

stabilize, and maintain the prices of ceramic substrates for automotive catalytic converters supplied

to automobile manufacturers in the United States and elsewhere. The company also agreed to plead

guilty to obstruction of justice for altering, destroying or concealing documents with the intent to

impede the criminal antitrust investigation.




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        120.    On September 16, 2015, the DOJ announced that Kayaba Industries Co. Ltd. d/b/a

KYB Corporation agreed to plead guilty and to pay a $62 million criminal fine for its role in a

conspiracy to suppress and eliminate competition in the automotive parts industry by agreeing to

allocate markets, rig bids for, and to fix, stabilize, and maintain the prices of shock absorbers sold

to certain automobile and motorcycle manufacturers in the United States and elsewhere.

        121.    On November 19, 2015, the DOJ announced that INOAC Corp. agreed to plead

guilty and to pay a $2.35 million criminal fine for its role in a conspiracy to suppress and eliminate

competition in the automotive parts industry by agreeing to allocate sales of, to rig bids for, and to

fix, stabilize, and maintain the prices of certain plastic interior trim automotive parts sold to Toyota

in the United States and elsewhere.

        122.    On March 17, 2016, the DOJ announced that Omron Automotive Electronics Co.,

Ltd. agreed to plead guilty and to pay a $4.55 million criminal fine for its role in a conspiracy to

suppress and eliminate competition in the automotive parts industry by agreeing to allocate sales

of, to rig bids for, and to fix, stabilize, and maintain the prices of power window switches sold to

Honda in the United States and elsewhere.

        123.    On May 16, 2016, the DOJ announced that Corning International K.K. agreed to

plead guilty and to pay a $66.5 million criminal fine for its role in a conspiracy to suppress and

eliminate competition in the automotive parts industry by agreeing to allocate sales of, to rig bids

for, and to fix, stabilize, and maintain the prices of ceramic substrates sold to automobile

manufacturers in the United States and elsewhere.

        124.    On June 15, 2016, the DOJ announced that a federal grand jury, sitting in the U.S.

District Court for the Southern District of Ohio, returned two indictments charging Japanese

automotive parts companies, their U.S. subsidiaries, and a total of five executives with criminal




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antitrust violations for their participation in international conspiracies to eliminate competition in

the sale of automotive parts in the United States. One of the indictments charges Tokai Kogyo Co.

Ltd., its wholly owned U.S. subsidiary, Green Tokai Co. Ltd., and its former executive Akitada

Tazumi with conspiring to rig bids for and fix the prices of automotive body sealing products sold

to an automobile manufacturer for installation in vehicles sold in the United States and elsewhere.

The other indictment charges Maruyasu Industries Co. Ltd., its wholly owned U.S. subsidiary,

Curtis-Maruyasu America Inc., and their executives, Tadao Hirade, Satoru Murai, Kazunori

Kobayashi and Yoshihiro Shigematsu, with conspiring to fix prices, allocate customers, and rig

bids for steel tubes sold to automobile manufacturers for installation in vehicles sold in the United

States and elsewhere.

        125.    On July 20, 2016, the DOJ announced that Nishikawa Rubber Co. Ltd. agreed to

plead guilty and pay a $130 million criminal fine for its role in a conspiracy to suppress and

eliminate competition in the automotive parts industry by agreeing to allocate sales of, to rig bids

for, and to fix, stabilize, and maintain the prices of automotive body sealing products sold to

automobile manufacturers in the United States and elsewhere.

        126.    On August 9, 2016, the DOJ announced that Hitachi Automotive Systems Ltd.

agreed to plead guilty and pay a $55.48 million fine for its role in a conspiracy to allocate markets,

fix prices and rig bids for shock absorbers sold to vehicle manufacturers in the United States and

elsewhere from the mid-1990s until the summer of 2011. According to the press release, although

Hitachi Automotive Systems Ltd. previously agreed to plead guilty to price-fixing and bid-rigging

various automotive parts, it failed to uncover and disclose that it had also conspired to fix the prices

of shock absorbers.




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        127.    On September 15, 2016, the DOJ announced that Alpha Corporation agreed to

plead guilty and to pay a $9 million criminal fine for its role in a conspiracy to suppress and

eliminate competition in the automotive parts industry by agreeing to allocate sales of, to rig bids

for, and to fix, stabilize, and maintain the prices of automotive access mechanisms sold to

automobile manufacturers in the United States and elsewhere.

        128.    On November 8, 2016, the DOJ announced that Usui Kokusai Sangyo Kaisha Ltd.

agreed to plead guilty and pay a $7.2 million criminal fine for its role in a conspiracy to fix prices,

allocate customers and rid bids of automotive steel tubes sold to automobile manufacturers in the

United States and elsewhere.

        129.    On March 7, 2017, DOJ announced that Kiekert AG agreed to plead guilty and to

pay a $6.1 million criminal fine for its role in a conspiracy to suppress and eliminate competition

in the automotive parts industry by agreeing to allocate sales of, to rig bids for, and to fix, stabilize,

and maintain the prices of side-door latches and latch minimodules sold to automobile

manufacturers in the United States and elsewhere.

        130.    On May 31, 2018, the DOJ announced that Maruyasu Industries Co. Ltd. pleaded

guilty and agreed to pay a $12 million criminal fine for its role in a conspiracy to fix prices, rig

bids, allocate customers for automotive steel tubes.

        131.    To date, 49 companies and 65 executives have been charged in the Antitrust

Division’s ongoing investigation into price-fixing and bid-rigging in the automotive parts industry.

Of the 49 companies charged, 47 have either pleaded guilty or agreed to plead guilty and

altogether, they have agreed to pay a total of more than $2.9 billion in criminal fines.

        132.    As stated by the FBI’s Special Agent in Charge, Andrew G. Arena in a January 30,

2012 press release, “[t]his criminal activity has a significant impact on the automotive




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manufacturers in the United States, Canada, Japan and Europe and has been occurring at least a

decade. The conduct had also affected commerce on a global scale in almost every market where

automobiles are manufactured and/or sold.” As Mr. Arena previously said in a September 29, 2011

press release, “[w]hen companies partner to control and price fix bids or contracts, it undermines

the foundation of the United States’ economic system. The FBI is committed to aggressively

pursuing any company involved in antitrust crimes.”

                                 CLASS ACTION ALLEGATIONS

          133.   Plaintiffs bring this action on behalf of themselves and as a class action under

Federal Rule of Civil Procedure (“Rule”) 23(a) and (b)(2), seeking equitable and injunctive relief

on behalf of the following class (the “Nationwide Class”):

                 All persons and entities who, during the Class Period, purchased or
                 leased a new Vehicle in the United States not for resale which
                 included one or more Electronic Braking System(s) as a component
                 part, which were manufactured or sold by Defendants, any current
                 or former subsidiary of Defendants, or any co-conspirator of
                 Defendants.

          134.   Plaintiffs also bring this action on behalf of themselves and as a class action under

Rule 23(a) and (b)(3) seeking damages pursuant to state antitrust, unfair competition, and

consumer protection laws as well as common law unjust enrichment on behalf of the following

class (the “Damages Class”):

                 All persons and entities who, during the Class Period, purchased or
                 leased a new Vehicle in the Indirect Purchaser States4 not for resale
                 which included one or more Electronic Braking System(s) as a
                 component part, which were manufactured or sold by Defendants,
                 any current or former subsidiary of Defendants, or any co-
                 conspirator of Defendants.




4
    The Indirect Purchaser States are the states listed in the Second and Third Claims for Relief.


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       135.    The Nationwide Class and the Damages Class are referred to herein as the

“Classes.” Excluded from the Classes are Defendants, their parent companies, subsidiaries and

affiliates, any co-conspirators, federal governmental entities and instrumentalities of the federal

government, states and their subdivisions, agencies and instrumentalities, and persons who

purchased Electronic Braking Systems directly or for resale.

       136.    While Plaintiffs do not know the exact number of the members of the Classes,

Plaintiffs believe there are (at least) thousands of members in each Class.

       137.    Common questions of law and fact exist as to all members of the Classes. This is

particularly true given the nature of Defendants’ conspiracy, which was generally applicable to all

the members of both Classes, thereby making appropriate relief with respect to the Classes as a

whole. Such questions of law and fact common to the Classes include, but are not limited to:

               (a) Whether Defendants and their co-conspirators engaged in a combination and

               conspiracy among themselves to fix, raise, maintain or stabilize the prices of

               Electronic Braking Systems installed in Vehicles sold in the United States;

               (b) The identity of the participants of the alleged conspiracy;

               (c) The duration of the alleged conspiracy and the acts carried out by Defendants

               and their co-conspirators in furtherance of the conspiracy;

               (d) Whether the alleged conspiracy violated the Sherman Act, as alleged in the

               First Claim for Relief;

               (e) Whether the alleged conspiracy violated state antitrust, unfair competition,

               and/or consumer protection laws, as alleged in the Second and Third Claims for

               Relief;




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               (f) Whether Defendants unjustly enriched themselves to the detriment of the

               Plaintiffs and the members of the Damages Class, thereby entitling Plaintiffs and

               the members of the Damages Class to disgorgement of all benefits derived by

               Defendants, as alleged in the Fourth Claim for Relief;

               (g) Whether the conduct of Defendants and their co-conspirators, as alleged in this

               Complaint, caused injury to the business or property of Plaintiffs and the members

               of the Classes;

               (h) The effect of the alleged conspiracy on the prices of Electronic Braking

               Systems installed in Vehicles sold in the United States during the Class Period;

               (i) Whether Plaintiffs and members of the Classes had any reason to know or

               suspect the conspiracy, or any means to discover the conspiracy;

               (j) Whether Defendants and their co-conspirators fraudulently concealed the

               conspiracy’s existence from Plaintiffs and the members of the Classes;

               (k) The appropriate injunctive and related equitable relief for the Nationwide

               Class; and

               (l) The appropriate class-wide measure of damages for the Damages Class.

       138.    Plaintiffs’ claims are typical of the claims of the members of the Classes, and

Plaintiffs will fairly and adequately protect the interests of the Classes. Plaintiffs and all members

of the Classes are similarly affected by Defendants’ wrongful conduct in that they paid artificially

inflated prices for Electronic Braking Systems purchased indirectly from Defendants and/or their

co-conspirators.

       139.    Plaintiffs’ claims arise out of the same common course of conduct giving rise to the

claims of the other members of the Classes. Plaintiffs’ interests are coincident with, and not




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antagonistic to, those of the other members of the Classes. Plaintiffs are represented by counsel

who are competent and experienced in the prosecution of antitrust and class action litigation.

       140.    The questions of law and fact common to the members of the Classes predominate

over any questions affecting only individual members, including legal and factual issues relating

to liability and damages.

       141.    Class action treatment is a superior method for the fair and efficient adjudication of

the controversy, in that, among other things, such treatment will permit a large number of similarly

situated persons to prosecute their common claims in a single forum simultaneously, efficiently

and without the unnecessary duplication of evidence, effort and expense that numerous individual

actions would engender. The benefits of proceeding through the class mechanism, including

providing injured persons or entities with a method for obtaining redress for claims that might not

be practicable to pursue individually, substantially outweigh any difficulties that may arise in the

management of this class action.

       142.    The prosecution of separate actions by individual members of the Classes would

create a risk of inconsistent or varying adjudications, establishing incompatible standards of

conduct for Defendants.

                                   ILLUSTRATIVE EXAMPLE

       143.    Bosch and Continental exchanged information regarding their Electronic Braking

Systems sales to VW and, specifically, relating to the MLB evo-platform, which includes certain

Audi models and the Porsche Macan. Following the RFQs for the MLB evo-platform, employees

from Bosch and Continental engaged in meetings and phone conversations wherein employees

from Bosch and Continental exchanged information regarding their company’s respective bid.

               PLAINTIFFS AND THE CLASSES SUFFERED ANTITRUST INJURY

       144.    Defendants’ conspiracy had the following effects, among others:


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               (a) Price competition has been restrained or eliminated with respect to Electronic

               Braking Systems;

               (b) The prices of Electronic Braking Systems have been fixed, raised, maintained,

               or stabilized at artificially inflated levels;

               (c) Indirect purchasers of Electronic Braking Systems have been deprived of free

               and open competition; and

               (d) Indirect purchasers of Electronic Braking Systems paid artificially inflated

               prices.

       145.    During the Class Period, Plaintiffs and the members of the Classes paid supra-

competitive prices for Electronic Braking Systems. OEMs and automobile dealers passed on

inflated prices to Plaintiffs and the members of the Classes. Those overcharges have unjustly

enriched Defendants.

       146.    The markets for Electronic Braking Systems and Vehicles are inextricably linked

and intertwined because the market for Electronic Braking Systems exists to serve the Vehicles

market. Without the Vehicles, Electronic Braking Systems have little to no value because they

have no independent utility. Indeed, the demand for Vehicles creates the demand for Electronic

Braking Systems. As stated in the 2010 Annual Report of Lear Corporation, an automotive parts

supplier: “Our sales are driven by the number of vehicles produced by the automotive

manufacturers, which is ultimately dependent on consumer and fleet demand for automotive

vehicles.”

       147.    Electronic Braking Systems are identifiable, discrete physical products that remain

essentially unchanged when incorporated into a Vehicle. As a result, Electronic Braking Systems

follow a traceable physical chain of distribution from Defendants to Plaintiffs and the members of




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the Classes, and any cost changes attributable to Electronic Braking Systems can be traced through

the chain of distribution to Plaintiffs and the members of the Classes.

       148.    Just as Electronic Braking Systems can be physically traced through the supply

chain, so can their prices be traced to show that changes in the prices paid by direct purchasers of

Electronic Braking Systems affect prices paid by indirect purchasers of Vehicles containing

Electronic Braking Systems.

       149.    While even a monopolist would increase its prices when the cost of its inputs

increased, the economic necessity of passing through cost changes increases with the degree of

competition a firm faces. The OEM and dealer markets for Vehicles are subject to vigorous price

competition. The OEMs and Vehicle dealers have thin net margins and are therefore at the mercy

of their component costs, such that increases in the price of components such as Electronic Braking

Systems lead to corresponding increases in prices for Vehicles at the OEM and dealer levels. When

downstream distribution markets are highly competitive, as they are in the case of Vehicles

containing Electronic Braking Systems as components, overcharges are passed through to ultimate

consumers, such as the indirect-purchaser Plaintiffs and members of the Classes.

       150.    Hence the inflated prices of Electronic Braking Systems in Vehicles resulting from

Defendants’ bid-rigging and price-fixing conspiracy have been passed on to Plaintiffs and the other

members of the Classes by OEMs and dealers.

       151.    The economic and legal literature has recognized that unlawful overcharges in a

component normally result in higher prices for products containing that price-fixed component.

Two antitrust scholars – Professors Robert G. Harris (Professor Emeritus and former Chair of the

Business and Public Policy Group at the Haas School of Business at the University of California

at Berkeley) and the late Lawrence A. Sullivan (Professor of Law Emeritus at Southwestern Law




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School and author of the Handbook of the Law of Antitrust) – have observed that “in a multiple-

level chain of distribution, passing on monopoly overcharges is not the exception: it is the rule.”5

        152.    As Professor Jeffrey K. MacKie-Mason (formerly Arthur W. Burks Professor for

Information and Computer Science and Professor of Economics and Public Policy at the University

of Michigan and now University Librarian and Chief Digital Scholarship Officer, University of

California, Berkeley, and a professor in the UC Berkeley School of Information and Department

of Economics), an expert who presented evidence in a number of the indirect purchaser cases

involving Microsoft Corporation, said (in a passage quoted in the judicial decision in that case

granting class certification):

                As is well known in economic theory and practice, at least some of
                the overcharge will be passed on by distributors to end consumers.
                When the distribution markets are highly competitive, as they are
                here, all or nearly the entire overcharge will be passed on through to
                ultimate consumers…Both of Microsoft’s experts also agree upon
                the economic phenomenon of cost pass through, and how it works
                in competitive markets. This general phenomenon of cost pass
                through is well established in antitrust laws and economics as well.6

        153.    The purpose of the conspiratorial conduct of Defendants and their co-conspirators

was to raise, fix, rig or stabilize the price of Electronic Braking Systems and, as a direct and

foreseeable result, the price of Vehicles containing Electronic Braking Systems. Economists have

developed techniques to isolate and understand the relationship between one “explanatory”

variable and a “dependent” variable in those cases when changes in the dependent variable are

explained by changes in a multitude of variables, even when all such variables may be changing

simultaneously. That analysis – called regression analysis – is commonly used in the real world



5
  Robert G. Harris & Lawrence A. Sullivan, Passing on the Monopoly Overcharge: A
Comprehensive Policy Analysis, 128 U. PA. L. REV. 268, 275 (1979).
6
  Order re: Class Certification at 13-14, Coordination Proceedings Special Title (Rule 1550(b))
Microsoft I-V Cases, No. J.C.C.P. No. 4106, (Cal. Sup. Ct. Aug. 29, 2000).


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and in litigation to determine the impact of a price increase on one cost in a product (or service)

that is an assemblage of costs. Thus, it is possible to isolate and identify only the impact of an

increase in the price of Electronic Braking Systems on prices for Vehicles even though such

products contain a number of other components whose prices may be changing over time. A

regression model can explain how variation in the price of Electronic Braking Systems affects

changes in the price of Vehicles. In such models, the price of Electronic Braking Systems would

be treated as an independent or explanatory variable. The model can isolate how changes in the

price of Electronic Braking Systems impact the price of Vehicles containing Electronic Braking

Systems while controlling for the impact of other price-determining factors.

       154.    The precise amount of the overcharge impacting the prices of Vehicles containing

Electronic Braking Systems can be measured and quantified. Commonly used and well-accepted

economic models can be used to measure both the extent and the amount of the supra-competitive

charge passed through the chain of distribution. Thus, the economic harm to Plaintiffs and

members of the Classes can be quantified.

       155.    In addition to the regression analysis discussed above demonstrating impact on

consumers, the DOJ’s Antitrust Division, which has been investigating anticompetitive conduct in

the automotive parts industry for some time, has concluded that there is “no doubt” that

consumers were hurt financially. Sharis A. Pozen, then Acting Assistant Attorney General in

charge of the DOJ’s Antitrust Division said: “By rigging bids . . . [automotive parts manufacturers

engaged in a price-fixing conspiracy] inflated what some of their auto manufacturing clients paid,

and indirectly, what consumers paid for some cars.” She also explained that “[a]s a result of this

international price-fixing and bid-rigging conspiracy, automobile manufacturers paid

noncompetitive and higher prices for parts in cars sold to U.S. consumers.” Ms. Pozen also stated




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that “[t]his cartel harmed an important industry in our nation’s economy, and the Antitrust Division

with the Federal Bureau of Investigation will continue to work together to ensure that these kinds

of conspiracies are stopped.” In a separate press statement, Ms. Pozen vowed to continue the

investigation into “pernicious cartel conduct that results in higher prices to American consumers .

. . .”

         156.   On February 15, 2013, Scott Hammond, the Deputy Assistant Attorney General in

the DOJ’s Antitrust Division, discussed the DOJ’s ongoing automotive parts investigation in a

Thomson Reuters article. He said “[t]he investigation is broader than what we’ve announced so

far . . . . [The investigation] is still very much ongoing, but it already appears to be the biggest

criminal antitrust investigation that we’ve ever encountered. I say biggest with respect to the

impact on U.S. businesses and consumers, and the number of companies and executives that

are subject to the investigation.” (emphasis added).

         157.   On September 26, 2013, then United States Attorney General Eric Holder in the

Antitrust Division presented the DOJ’s then most recent findings in the ongoing automotive parts

investigation. He stated “[t]hese international price-fixing conspiracies affected more than $5

billion in automobile parts sold to U.S. car manufacturers. In total, more than 25 million cars

purchased by American consumers were affected by the illegal conduct.” Then Attorney General

Holder also described how the conspiracies worked: “[c]ompany executives met face to face in the

United States and Japan – and talked on the phone – to reach collusive agreements to rig bids, fix

prices and allocate the supply of auto parts sold to U.S. car companies. In order to keep their illegal

conduct secret, they used code names and met in remote locations. Then they followed up with

each other regularly to make sure the collusive agreements were being adhered to.” Then Attorney

General Holder explained that the automotive parts conspiracies “targeted U.S. manufacturing,




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U.S. businesses and U.S. consumers. As a result of these conspiracies, Americans paid more for

their cars.”

        158.    On May 25, 2014, news sources reported that Brent Snyder, a deputy assistant

attorney general in the Antitrust Division, said with respect to the automotive parts conspiracies,

“[i]t’s a very, very safe assumption that U.S. consumers paid more, and sometimes significantly

more, for their automobiles as a result of this conspiracy.”

        159.   By reason of the violations of the antitrust, consumer protection, and unjust

enrichment laws alleged herein, Plaintiffs and the members of the Classes have sustained injury to

their businesses or property, having paid higher prices for Electronic Braking Systems than they

would have paid in the absence of Defendants’ illegal contract, combination, or conspiracy, and,

as a result, have suffered damages in an amount presently undetermined. This is an antitrust injury

of the type that the antitrust laws were meant to punish and prevent.

  PLAINTIFFS’ CLAIMS ARE NOT BARRED BY THE STATUTE OF LIMITATIONS

        A.     The Parties Entered into Tolling and Standstill Agreements

        160.   On December 10, 2018 and December 12, 2018, Plaintiffs entered into Tolling and

Standstill Agreements with TRW and Bosch, respectively.

        161.   Each Tolling and Standstill Agreement tolled the running of any statute of

limitations, statute of repose, or other time related defense based on federal, state or other law,

whether at law, equity, or otherwise (including, but not limited to, defenses based on the doctrines

of waiver, laches, acquiescence, or estoppel) that may be applicable to any claim for relief that

arises from or relates to the facts, events, and circumstances alleged herein, for Plaintiffs and for

all putative class members sought to be represented by Plaintiffs for the defined Tolling Period.

        162.   Plaintiffs and TRW entered into Amended Tolling and Standstill Agreements on:

December 10, 2019; March 9, 2020; May 8, 2020; and July 27, 2020. Pursuant to the July 27, 2020


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Amended Tolling and Standstill Agreement, the Tolling Period began on July 27, 2020 and would

remain in effect until the earlier of three months after July 27, 2020 or fourteen calendar days after

a party provides notices of its intent to terminate the agreement. In accordance with this provision

of the July 27, 2020 Amended Tolling and Standstill Agreement, Plaintiffs informed TRW of their

intent to terminate on September 21, 2020.

       163.    Plaintiffs and Bosch entered into an Amended Tolling and Standstill Agreement on

December 10, 2019. Pursuant to this Amended Tolling and Standstill Agreement, the Tolling

Period began on December 10, 2019 and would remain in effect until the earlier of one year after

December 10, 2019 or fourteen calendar days after a party provides notices of its intent to terminate

the agreement. Plaintiffs subsequently resolved their claims against Bosch on September 18, 2020

       B.      The Statute of Limitations Did Not Begin to Run Because Plaintiffs Did Not
               and Could Not Discover Their Claims

       164.    Plaintiffs repeat and re-allege the allegations set forth above. Plaintiffs and the

members of the Classes had no knowledge of the combination or conspiracy alleged herein, or of

facts sufficient to place them on inquiry notice of the claims set forth herein, until (at the earliest)

February 21, 2018, the date the EC publicly announced that Continental and Bosch participated in

the Electronic Braking Systems conspiracy.

       165.    Plaintiffs and members of the Classes are consumers and businesses that purchased

or leased new Vehicles containing Electronic Braking Systems not for resale. They had no direct

contact or interaction with Defendants and had no means from which they could have discovered

the Electronic Braking Systems combination and conspiracy described in this Complaint before

February 21, 2018.

       166.    No information in the public domain was available to Plaintiffs and members of the

Classes concerning the combination or conspiracy alleged herein prior to February 21, 2018, the



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date the EC publicly announced that Continental and Bosch participated in the conspiracy alleged

herein. Plaintiffs and the members of the Classes had no means of obtaining any facts or

information concerning any aspect of Defendants or their co-conspirators’ dealings with OEMs or

other direct purchasers, much less the fact that Defendants and their co-conspirators had engaged

in the combination and conspiracy alleged herein.

       167.    For these reasons, the statute of limitations as to Plaintiffs’ and the Classes’ claims

did not begin to run and has been tolled with respect to the claims that Plaintiff and the members

of the Classes have alleged in this Complaint.

       C.      Fraudulent Concealment Tolled the Statute of Limitations

       168.    In the alternative, application of the doctrine of fraudulent concealment tolled the

statute of limitations on the claims asserted herein by Plaintiffs and the Classes. Plaintiffs and the

members of the Classes did not discover and could not discover through the exercise of reasonable

diligence, the existence of the conspiracy alleged herein until February 21, 2018, the date the EC

publicly announced that Continental and Bosch participated in the conspiracy alleged herein.

       169.    Before that time, Plaintiffs and the members of the Classes were unaware of

Defendants’ unlawful conduct and did not know before then that they were paying supra-

competitive prices for Electronic Braking Systems throughout the United States during the Class

Period. No information, actual or constructive, was ever made available to Plaintiffs and members

of the Classes that even hinted to Plaintiffs that they were being injured by Defendants’ unlawful

conduct.

       170.    The affirmative acts of Defendants alleged herein, including acts in furtherance of

the conspiracy, were wrongfully concealed and carried out in a manner that precluded detection.

       171.    Specifically, as then Attorney General Holder explained in connection with the

DOJ’s globally coordinated investigation into price-fixing in the Automotive parts industry, “[i]n


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order to keep their illegal conduct secret, [Defendants] used code names and met in remote

locations.”

       172.    By their very nature, Defendants’ anticompetitive conspiracy and unlawful

combinations were inherently self-concealing. Electronic Braking Systems are not exempt from

antitrust regulation and, thus, Plaintiffs and members of the Classes reasonably considered the

Electronic Braking Systems industry to be a competitive industry. According to EC Decision,

Continental and Bosch colluded by exchanging sensitive business information over the phone,

over email, and at meetings with one another. Accordingly, a reasonable person under the

circumstances would not have been alerted to begin to investigate the legitimacy of Defendants’

Electronic Braking Systems prices before February 21, 2018 at the earliest.

       173.    Plaintiffs and the members of the Classes could not have discovered the alleged

contract, conspiracy or combination at an earlier date by the exercise of reasonable diligence

because of the deceptive practices and techniques of secrecy employed by Defendants and their

co-conspirators to avoid detection of, and fraudulently conceal, their contract, combination, or

conspiracy.

       174.    According to the EC Decision, throughout the course of the conspiracy, Continental

and Bosch colluded by engaging in bilateral information exchanges over the phone, over email,

and at meetings. In doing so, the conspirators coordinated their pricing in a manner to avoid

detection by the OEMs. The exact dates and times of these communications and meetings are

within the knowledge of Continental and Bosch.

       175.    Because the alleged conspiracy was self-concealing and affirmatively concealed by

Defendants and their co-conspirators, Plaintiffs and members of the Classes had no knowledge of

the alleged conspiracy, or of any facts or information that would have caused a reasonably diligent




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person to investigate whether a conspiracy existed, until, at the earliest, February 21, 2018, the

date the EC publicly announced that Continental and Bosch participated in the conspiracy alleged

herein.

           176.   For these reasons, the statute of limitations applicable to Plaintiffs’ and the Classes’

claims was tolled and did not begin to run until February 21, 2018.

                                   FIRST CLAIM FOR RELIEF
                              Violation of Section 1 of the Sherman Act
                          (on behalf of Plaintiffs and the Nationwide Class)

           177.   Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

           178.   Defendants and unnamed co-conspirators entered into and engaged in a contract,

combination, or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act (15 U.S.C. § 1).

           179.   The acts done by Defendants as part of, and in furtherance of, their and their co-

conspirators’ contract, combination, or conspiracy were authorized, ordered, or done by their

officers, agents, employees, or representatives while actively engaged in the management of their

affairs.

           180.   During the Class Period, Defendants and their co-conspirators entered into a

continuing agreement, understanding and conspiracy in restraint of trade to artificially fix, raise,

stabilize, and control prices for Electronic Braking Systems, thereby creating anticompetitive

effects.

           181.   The anticompetitive acts were intentionally directed at the United States market for

Electronic Braking Systems and had a substantial and foreseeable effect on interstate commerce

by raising and fixing prices for Electronic Braking Systems installed in vehicles sold throughout

the United States.




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          182.   The conspiratorial acts and combinations have caused unreasonable restraints in the

market for Electronic Braking Systems.

          183.   As a result of Defendants’ unlawful conduct, Plaintiffs and other similarly situated

indirect purchasers in the Nationwide Class who purchased Electronic Braking Systems have been

harmed by being forced to pay inflated, supra-competitive prices for Electronic Braking Systems.

          184.   In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices and course of conduct set forth

herein.

          185.   Defendants and their co-conspirators’ conspiracy had the following effects, among

others:

                 (a) Price competition in the market for Electronic Braking Systems has been

                 restrained, suppressed, and/or eliminated in the United States;

                 (b) Prices for Electronic Braking Systems sold by Defendants and their co-

                 conspirators have been fixed, raised, maintained, and stabilized at artificially high,

                 non-competitive levels throughout the United States; and

                 (c) Plaintiffs and members of the Nationwide Class who purchased Electronic

                 Braking Systems indirectly from Defendants and their co-conspirators have been

                 deprived of the benefits of free and open competition.

          186.   Plaintiffs and members of the Nationwide Class have been injured and will continue

to be injured in their business and property by paying more for Electronic Braking Systems

purchased indirectly from Defendants and their co-conspirators than they would have paid and will

pay in the absence of the conspiracy.




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        187.         The alleged contract, combination, or conspiracy is a per se violation of the federal

antitrust laws.

        188.         Plaintiffs and members of the Nationwide Class are entitled to an injunction against

Defendants, preventing and restraining the violations alleged herein.

                                    SECOND CLAIM FOR RELIEF
                                   Violation of State Antitrust Statutes
                              (on behalf of Plaintiffs and the Damages Class)

        189.         Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

        190.         During the Class Period, Defendants and their co-conspirators engaged in a

continuing contract, combination or conspiracy with respect to the sale of Electronic Braking

Systems in unreasonable restraint of trade and commerce and in violation of the various state

antitrust and other statutes set forth below.

        191.         The contract, combination, or conspiracy consisted of an agreement among

Defendants and their co-conspirators to fix, raise, inflate, stabilize, and/or maintain at artificially

supra-competitive prices for Electronic Braking Systems and to allocate customers for Electronic

Braking Systems in the United States.

        192.         In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including:

               (a)       participating in meetings and conversations among themselves during which

               they agreed to price Electronic Braking Systems at certain levels, and otherwise to fix,

               increase, inflate, maintain, or stabilize effective prices paid by Plaintiffs and members

               of the Damages Class with respect to Electronic Braking Systems sold in the United

               States;

               (b)       allocating customers and markets for Electronic Braking Systems in the United

               States in furtherance of their agreements; and


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               (c)       participating in meetings and conversations among themselves in the United

               States and elsewhere to implement, adhere to, and police the unlawful agreements they

               reached.

        193.         Defendants and their co-conspirators engaged in the actions described above for the

purpose of carrying out their unlawful agreements to fix, maintain, increase, or stabilize prices and

to allocate customers with respect to Electronic Braking Systems.

        194.         Defendants’ anticompetitive acts described above were knowing and willful and

constitute violations or flagrant violations of the following state antitrust statutes.

        195.         Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Arizona Revised Statutes, §§ 44-1401, et seq.

               (a)       Defendants’ combination or conspiracy had the following effects: (1)

               Electronic Braking Systems price competition was restrained, suppressed, and

               eliminated throughout Arizona; (2) Electronic Braking Systems prices were raised,

               fixed, maintained and stabilized at artificially high levels throughout Arizona; (3)

               Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid

               supracompetitive, artificially inflated prices for Electronic Braking Systems.

               (b)       During the Class Period, Defendants’ illegal conduct substantially affected

               Arizona commerce.

               (c)       As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               and members of the Damages Class have been injured in their business and property

               and are threatened with further injury.




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              (d)     By reason of the foregoing, Defendants entered into agreements in restraint of

              trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq. Accordingly, Plaintiffs and

              members of the Damages Class seek all forms of relief available under Ariz. Rev. Stat.

              §§ 44-1401, et seq.

       196.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of the California Business and Professions Code, §§ 16700, et seq.

                (a)     During the Class Period, Defendants and their co-conspirators entered into

                and engaged in a continuing unlawful trust in restraint of the trade and commerce

                described above in violation of Section 16720, California Business and Professions

                Code. Defendants have acted in violation of Section 16720 to fix, raise, stabilize,

                and maintain prices of, and allocate markets for, Electronic Braking Systems at

                supra-competitive levels.

                (b)     The aforesaid violations of Section 16720, California Business and

                Professions Code, consisted, without limitation, of a continuing unlawful trust and

                concert of action among Defendants and their co-conspirators, the substantial terms

                of which were to fix, raise, maintain, and stabilize the prices of, and to allocate

                markets for, Electronic Braking Systems.

                (c)     For the purpose of forming and effectuating the unlawful trust, Defendants

                and their co-conspirators have done those things which they combined and

                conspired to do, including but not limited to the acts, practices and course of

                conduct set forth above and the following: (1) Fixing, raising, stabilizing, and

                pegging the price of Electronic Braking Systems; and (2) Allocating among

                themselves the production of Electronic Braking Systems.




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              (d)     The combination and conspiracy alleged herein has had, inter alia, the

              following effects: (1) Price competition in the sale of Electronic Braking Systems

              has been restrained, suppressed, and/or eliminated in the State of California; (2)

              Prices for Electronic Braking Systems sold by Defendants and their co-conspirators

              have been fixed, raised, stabilized, and pegged at artificially high, non-competitive

              levels in the State of California and throughout the United States; and (3) Those

              who purchased Electronic Braking Systems directly or indirectly from Defendants

              and their co-conspirators have been deprived of the benefit of free and open

              competition.

              (e)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              in that they paid more for Electronic Braking Systems than they otherwise would

              have paid in the absence of Defendants’ unlawful conduct. As a result of

              Defendants’ violation of Section 16720 of the California Business and Professions

              Code, Plaintiffs and members of the Damages Class seek treble damages and their

              cost of suit, including a reasonable attorney’s fee, pursuant to Section 16750(a) of

              the California Business and Professions Code.

       197.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the District of Columbia Code Annotated §§ 28-4501, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout the District of Columbia; (2) Electronic Braking Systems

              prices were raised, fixed, maintained and stabilized at artificially high levels




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               throughout the District of Columbia; (3) Plaintiffs and members of the Damages

               Class were deprived of free and open competition; and (4) Plaintiffs and members

               of the Damages Class paid supra-competitive, artificially inflated prices for

               Electronic Braking Systems.

               (b)    During the Class Period, Defendants’ illegal conduct substantially affected

               District of Columbia commerce.

               (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               and members of the Damages Class have been injured in their business and property

               and are threatened with further injury.

               (d)    By reason of the foregoing, Defendants have entered into agreements in

               restraint of trade in violation of District of Columbia Code Ann. §§ 28-4501, et seq.

               Accordingly, Plaintiffs and members of the Damages Class seek all forms of relief

               available under District of Columbia Code Ann. §§ 28-4501, et seq.

       198.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Iowa Code §§ 553.1, et seq.

               (a)    Defendants’ combination or conspiracy had the following effects: (1)

               Electronic Braking Systems price competition was restrained, suppressed, and

               eliminated throughout Iowa; (2) Electronic Braking Systems prices were raised,

               fixed, maintained and stabilized at artificially high levels throughout Iowa; (3)

               Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Electronic Braking Systems.




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               (b)    During the Class Period, Defendants’ illegal conduct substantially affected

               Iowa commerce.

               (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               and members of the Damages Class have been injured in their business and property

               and are threatened with further injury.

               (d)    By reason of the foregoing, Defendants have entered into agreements in

               restraint of trade in violation of Iowa Code §§ 553.1, et seq. Accordingly, Plaintiffs

               and members of the Damages Class seek all forms of relief available under Iowa

               Code §§ 553.1, et seq.

       199.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Kansas Statutes Annotated, §§ 50-101, et seq.

               (a)    Defendants’ combination or conspiracy had the following effects: (1)

               Electronic Braking Systems price competition was restrained, suppressed, and

               eliminated throughout Kansas; (2) Electronic Braking Systems prices were raised,

               fixed, maintained and stabilized at artificially high levels throughout Kansas; (3)

               Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Electronic Braking Systems.

               (b)    During the Class Period, Defendants’ illegal conduct substantially affected

               Kansas commerce.

               (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               and members of the Damages Class have been injured in their business and property

               and are threatened with further injury.




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              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Kansas Stat. Ann. §§ 50-101, et seq. Accordingly,

              Plaintiffs and members of the Damages Class seek all forms of relief available

              under Kansas Stat. Ann. §§ 50-101, et seq.

       200.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Maine Revised Statutes, Maine Rev. Stat. Ann. 10, §§ 1101, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout Maine; (2) Electronic Braking Systems prices were raised,

              fixed, maintained and stabilized at artificially high levels throughout Maine; (3)

              Plaintiffs and members of the Damages Class were deprived of free and open

              competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Electronic Braking Systems.

              (b)     During the Class Period, Defendants’ illegal conduct substantially affected

              Maine commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Maine Rev. Stat. Ann. 10, §§ 1101, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under Maine Rev. Stat. Ann. 10, §§ 1101, et seq.




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       201.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Michigan Compiled Laws Annotated §§ 445.771, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout Michigan; (2) Electronic Braking Systems prices were

              raised, fixed, maintained and stabilized at artificially high levels throughout

              Michigan; (3) Plaintiffs and members of the Damages Class were deprived of free

              and open competition; and (4) Plaintiffs and members of the Damages Class paid

              supra-competitive, artificially inflated prices for Electronic Braking Systems.

              (b)     During the Class Period, Defendants’ illegal conduct substantially affected

              Michigan commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Michigan Comp. Laws Ann. §§ 445.771, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under Michigan Comp. Laws Ann. §§ 445.771, et seq.

       202.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Minnesota Annotated Statutes §§ 325D.49, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout Minnesota; (2) Electronic Braking Systems prices were




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              raised, fixed, maintained and stabilized at artificially high levels throughout

              Minnesota; (3) Plaintiffs and members of the Damages Class were deprived of free

              and open competition; and (4) Plaintiffs and members of the Damages Class paid

              supracompetitive, artificially inflated prices for Electronic Braking Systems.

              (b)     During the Class Period, Defendants’ illegal conduct substantially affected

              Minnesota commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Minnesota Stat. §§ 325D.49, et seq. Accordingly,

              Plaintiffs and members of the Damages Class seek all relief available under

              Minnesota Stat. §§ 325D.49, et seq.

       203.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Mississippi Code Annotated §§ 75-21-1, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout Mississippi; (2) Electronic Braking Systems prices were

              raised, fixed, maintained and stabilized at artificially high levels throughout

              Mississippi; (3) Plaintiffs and members of the Damages Class were deprived of free

              and open competition; and (4) Plaintiffs and members of the Damages Class paid

              supracompetitive, artificially inflated prices for Electronic Braking Systems.




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              (b)     During the Class Period, Defendants’ illegal conduct substantially affected

              Mississippi commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Mississippi Code Ann. §§ 75-21-1, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under Mississippi Code Ann. §§ 75-21-1, et seq.

       204.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Nebraska Revised Statutes §§ 59-801, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout Nebraska; (2) Electronic Braking Systems prices were

              raised, fixed, maintained and stabilized at artificially high levels throughout

              Nebraska; (3) Plaintiffs and members of the Damages Class were deprived of free

              and open competition; and (4) Plaintiffs and members of the Damages Class paid

              supra-competitive, artificially inflated prices for Electronic Braking Systems.

              (b)     During the Class Period, Defendants’ illegal conduct substantially affected

              Nebraska commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.




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              (d)    By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Nebraska Revised Statutes §§ 59-801, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under Nebraska Revised Statutes §§ 59-801, et seq.

       205.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Nevada Revised Statutes Annotated §§ 598A.010, et seq.

              (a)    Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout Nevada; (2) Electronic Braking Systems prices were raised,

              fixed, maintained and stabilized at artificially high levels throughout Nevada; (3)

              Plaintiffs and members of the Damages Class were deprived of free and open

              competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Electronic Braking Systems.

              (b)    During the Class Period, Defendants’ illegal conduct substantially affected

              Nevada commerce.

              (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.

              (d)    By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Nevada Rev. Stat. Ann. §§ 598A.010, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under Nevada Rev. Stat. Ann. §§ 598A.010, et seq.




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       206.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New Hampshire Revised Statutes §§ 356:1, et seq.

              (a)    Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout New Hampshire; (2) Electronic Braking Systems prices

              were raised, fixed, maintained and stabilized at artificially high levels throughout

              New Hampshire; (3) Plaintiffs and members of the Damages Class were deprived

              of free and open competition; and (4) Plaintiffs and members of the Damages Class

              paid supra-competitive, artificially inflated prices for Electronic Braking Systems.

              (b)    During the Class Period, Defendants’ illegal conduct substantially affected

              New Hampshire commerce.

              (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.

              (d)    By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of New Hampshire Revised Statutes §§ 356:1, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under New Hampshire Revised Statutes §§ 356:1, et seq.

       207.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New Mexico Statutes Annotated §§ 57-1-1, et seq.

              (a)    Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout New Mexico; (2) Electronic Braking Systems prices were




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              raised, fixed, maintained and stabilized at artificially high levels throughout New

              Mexico; (3) Plaintiffs and members of the Damages Class were deprived of free

              and open competition; and (4) Plaintiffs and members of the Damages Class paid

              supra-competitive, artificially inflated prices for Electronic Braking Systems.

              (b)    During the Class Period, Defendants’ illegal conduct substantially affected

              New Mexico commerce.

              (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.

              (d)    By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of New Mexico Stat. Ann. §§ 57-1-1, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under New Mexico Stat. Ann. §§ 57-1-1, et seq.

       208.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New York General Business Laws §§ 340, et seq.

              (a)    Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout New York; (2) Electronic Braking Systems prices were

              raised, fixed, maintained and stabilized at artificially high levels throughout New

              York; (3) Plaintiffs and members of the Damages Class were deprived of free and

              open competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Electronic Braking Systems when they

              purchased Vehicles containing Electronic Braking Systems, or purchased products




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               that were otherwise of lower quality than they would have been absent Defendants’

               and their co-conspirators’ illegal acts, or were unable to purchase products that they

               otherwise would have purchased absent the illegal conduct.

               (b)    During the Class Period, Defendants’ illegal conduct substantially affected

               New York commerce.

               (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               and members of the Damages Class have been injured in their business and property

               and are threatened with further injury.

               (d)    By reason of the foregoing, Defendants have entered into agreements in

               restraint of trade in violation of the New York Donnelly Act, §§ 340, et seq. The

               conduct set forth above is a per se violation of the Act. Accordingly, Plaintiffs and

               members of the Damages Class seek all relief available under New York Gen. Bus.

               Law §§ 340, et seq.

       209.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the North Carolina General Statutes §§ 75-1, et seq.

               (a)    Defendants’ combination or conspiracy had the following effects: (1)

               Electronic Braking Systems price competition was restrained, suppressed, and

               eliminated throughout North Carolina; (2) Electronic Braking Systems prices were

               raised, fixed, maintained and stabilized at artificially high levels throughout North

               Carolina; (3) Plaintiffs and members of the Damages Class were deprived of free

               and open competition; and (4) Plaintiffs and members of the Damages Class paid

               supra-competitive, artificially inflated prices for Electronic Braking Systems.




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              (b)    During the Class Period, Defendants’ illegal conduct substantially affected

              North Carolina commerce.

              (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.

              (d)    By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of North Carolina Gen. Stat. §§ 75-1, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under North Carolina Gen. Stat. §§ 75-1, et. seq.

       210.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the North Dakota Century Code §§ 51-08.1-01, et seq.

              (a)    Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout North Dakota; (2) Electronic Braking Systems prices were

              raised, fixed, maintained and stabilized at artificially high levels throughout North

              Dakota; (3) Plaintiffs and members of the Damages Class were deprived of free and

              open competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Electronic Braking Systems.

              (b)    During the Class Period, Defendants’ illegal conduct had a substantial effect

              on North Dakota commerce.

              (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.




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              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of North Dakota Cent. Code §§ 51-08.1-01, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under North Dakota Cent. Code §§ 51-08.1-01, et seq.

       211.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Oregon Revised Statutes §§ 646.705, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout Oregon; (2) Electronic Braking Systems prices were raised,

              fixed, maintained and stabilized at artificially high levels throughout Oregon; (3)

              Plaintiffs and members of the Damages Class were deprived of free and open

              competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Electronic Braking Systems.

              (b)     During the Class Period, Defendants’ illegal conduct had a substantial effect

              on Oregon commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Oregon Revised Statutes §§ 646.705, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under Oregon Revised Statutes §§ 646.705, et seq.




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       212.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the South Dakota Codified Laws §§ 37-1-3.1, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout South Dakota; (2) Electronic Braking Systems prices were

              raised, fixed, maintained and stabilized at artificially high levels throughout South

              Dakota; (3) Plaintiffs and members of the Damages Class were deprived of free and

              open competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Electronic Braking Systems.

              (b)     During the Class Period, Defendants’ illegal conduct had a substantial effect

              on South Dakota commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of South Dakota Codified Laws Ann. §§ 37-1, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under South Dakota Codified Laws Ann. §§ 37-1, et seq.

       213.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Tennessee Code Annotated §§ 47-25-101, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout Tennessee; (2) Electronic Braking Systems prices were




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              raised, fixed, maintained and stabilized at artificially high levels throughout

              Tennessee; (3) Plaintiffs and members of the Damages Class were deprived of free

              and open competition; and (4) Plaintiffs and members of the Damages Class paid

              supra-competitive, artificially inflated prices for Electronic Braking Systems.

              (b)    During the Class Period, Defendants’ illegal conduct had a substantial effect

              on Tennessee commerce.

              (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.

              (d)    By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Tennessee Code Ann. §§ 47-25-101, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under Tennessee Code Ann. §§ 47-25-101, et seq.

       214.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Utah Code Annotated §§ 76-10-3101, et seq.

              (a)    Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout Utah; (2) Electronic Braking Systems prices were raised,

              fixed, maintained and stabilized at artificially high levels throughout Utah; (3)

              Plaintiffs and members of the Damages Class were deprived of free and open

              competition; and (4) Plaintiffs and members of the Damages Class paid supra-

              competitive, artificially inflated prices for Electronic Braking Systems.




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               (b)    During the Class Period, Defendants’ illegal conduct had a substantial effect

               on Utah commerce.

               (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               and members of the Damages Class have been injured in their business and property

               and are threatened with further injury.

               (d)    By reason of the foregoing, Defendants’ have entered into agreements in

               restraint of trade in violation of Utah Code Annotated §§ 76-10-3101, et seq.

               Accordingly, Plaintiffs and members of the Damages Class seek all relief available

               under Utah Code Annotated §§ 76-10-3101, et seq.

       215.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Vermont Stat. Ann. 9 §§ 2453, et seq.

               (a)    Defendants’ combination or conspiracy had the following effects: (1)

               Electronic Braking Systems price competition was restrained, suppressed, and

               eliminated throughout Vermont; (2) Electronic Braking Systems prices were raised,

               fixed, maintained and stabilized at artificially high levels throughout Vermont; (3)

               Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Electronic Braking Systems.

               (b)    During the Class Period, Defendants’ illegal conduct had a substantial effect

               on Vermont commerce.

               (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               and members of the Damages Class have been injured in their business and property

               and are threatened with further injury.




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              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of Vermont Stat. Ann. 9 §§ 2453, et seq. Accordingly,

              Plaintiffs and members of the Damages Class seek all relief available under

              Vermont Stat. Ann. 9 §§ 2453, et seq.

       216.   Defendants have entered into an unlawful agreement in restraint of trade in

violation of the West Virginia Code §§ 47-18-1, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout West Virginia; (2) Electronic Braking Systems prices were

              raised, fixed, maintained and stabilized at artificially high levels throughout West

              Virginia; (3) Plaintiffs and members of the Damages Class were deprived of free

              and open competition; and (4) Plaintiffs and members of the Damages Class paid

              supra-competitive, artificially inflated prices for Electronic Braking Systems.

              (b)     During the Class Period, Defendants’ illegal conduct had a substantial effect

              on West Virginia commerce.

              (c)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

              and members of the Damages Class have been injured in their business and property

              and are threatened with further injury.

              (d)     By reason of the foregoing, Defendants have entered into agreements in

              restraint of trade in violation of West Virginia Code §§ 47-18-1, et seq.

              Accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under West Virginia Code §§ 47-18-1, et seq.




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       217.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Wisconsin Statutes §§ 133.01, et seq.

               (a)    Defendants’ combination or conspiracy had the following effects: (1)

               Electronic Braking Systems price competition was restrained, suppressed, and

               eliminated throughout Wisconsin; (2) Electronic Braking Systems prices were

               raised, fixed, maintained and stabilized at artificially high levels throughout

               Wisconsin; (3) Plaintiffs and members of the Damages Class were deprived of free

               and open competition; and (4) Plaintiffs and members of the Damages Class paid

               supra-competitive, artificially inflated prices for Electronic Braking Systems.

               (b)    During the Class Period, Defendants’ illegal conduct had a substantial effect

               on Wisconsin commerce.

               (c)    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               and members of the Damages Class have been injured in their business and property

               and are threatened with further injury.

               (d)    By reason of the foregoing, Defendants have entered into agreements in

               restraint of trade in violation of Wisconsin Stat. §§ 133.01, et seq. Accordingly,

               Plaintiffs and members of the Damages Class seek all relief available under

               Wisconsin Stat. §§ 133.01, et seq.

       218.    Plaintiffs and members of the Damages Class in each of the above states have been

injured in their business and property by reason of Defendants’ unlawful combination, contract,

conspiracy and agreement. Plaintiffs and members of the Damages Class have paid more for

Electronic Braking Systems than they otherwise would have paid in the absence of Defendants’




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unlawful conduct. This injury is of the type the antitrust laws of the above states were designed to

prevent and flows from that which makes Defendants’ conduct unlawful.

       219.    In addition, Defendants have profited significantly from the aforesaid conspiracy.

Defendants’ profits derived from their anticompetitive conduct come at the expense and detriment

of the Plaintiffs and the members of the Damages Class.

       220.    Accordingly, Plaintiffs and the members of the Damages Class in each of the above

jurisdictions seek damages (including statutory damages where applicable), to be trebled or

otherwise increased as permitted by a particular jurisdiction’s antitrust law, and costs of suit,

including reasonable attorneys’ fees, to the extent permitted by the above state laws.

                                 THIRD CLAIM FOR RELIEF
                         Violation of State Consumer Protection Statutes
                         (on behalf of Plaintiffs and the Damages Class)

       221.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       222.    Defendants engaged in unfair competition or unfair, unconscionable, deceptive or

fraudulent acts or practices in violation of the state consumer protection and unfair competition

statutes listed below.

       223.    Defendants have knowingly entered into an unlawful agreement in restraint of trade

in violation of the Arkansas Code Annotated, § 4-88-101, et seq.

               (a)       Defendants knowingly agreed to, and did in fact, act in restraint of trade or

               commerce by affecting, fixing, controlling, and/or maintaining at non-competitive

               and artificially inflated levels, the prices at which Electronic Braking Systems

               Products were sold, distributed, or obtained in Arkansas and took efforts to conceal

               their agreements from Plaintiffs and members of the Damages Class.




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               (b)    The aforementioned conduct on the part of Defendants constituted

               “unconscionable” and “deceptive” acts or practices in violation of Arkansas Code

               Annotated, § 4-88-107(a)(10).

               (c)    Defendants’ unlawful conduct had the following effects: (1) Electronic

               Braking Systems price competition was restrained, suppressed, and eliminated

               throughout Arkansas; (2) Electronic Braking Systems Products prices were raised,

               fixed, maintained, and stabilized at artificially high levels throughout Arkansas; (3)

               Plaintiffs and the members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and the members of the Damages Class paid supra-

               competitive, artificially inflated prices for Electronic Braking Systems.

               (d)    During the Class Period, Defendants’ illegal conduct substantially affected

               Arkansas commerce and consumers.

               (e)    As a direct and proximate result of the unlawful conduct of Defendants,

               Plaintiff and the members of the Damages Class have been injured in their business

               and property and are threatened with further injury.

               (f)    Defendants have engaged in unfair competition or unfair or deceptive acts

               or practices in violation of Arkansas Code Annotated, § 4-88-107(a)(10) and,

               accordingly, Plaintiffs and the members of the Damages Class seek all relief

               available under that statute.

       224.    Defendants have engaged in unfair competition or unfair, unconscionable,

deceptive or fraudulent acts or practices in violation of California Business and Professions Code

§ 17200, et seq.




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           (a)      During the Class Period, Defendants marketed, sold, or distributed

           Electronic Braking Systems in California, and committed and continue to commit

           acts of unfair competition, as defined by Sections 17200, et seq. of the California

           Business and Professions Code, by engaging in the acts and practices specified

           above.

           (b)      This claim is instituted pursuant to Sections 17203 and 17204 of the

           California Business and Professions Code, to obtain restitution from Defendants

           for acts, as alleged herein, that violated Section 17200 of the California Business

           and Professions Code, commonly known as the Unfair Competition Law.

           (c)      Defendants’ conduct as alleged herein violated Section 17200. The acts,

           omissions, misrepresentations, practices and non-disclosures of Defendants, as

           alleged herein, constituted a common, continuous, and continuing course of

           conduct of unfair competition by means of unfair, unlawful, and/or fraudulent

           business acts or practices within the meaning of California Business and

           Professions Code, Section 17200, et seq., including, but not limited to, the

           following: (1) the violations of Section 1 of the Sherman Act, as set forth above;

           (2) the violations of Section 16720, et seq., of the California Business and

           Professions Code, set forth above;

           (d)      Defendants’ acts, omissions, misrepresentations, practices, and non-

           disclosures, as described above, whether or not in violation of Section 16720, et

           seq., of the California Business and Professions Code, and whether or not concerted

           or independent acts, are otherwise unfair, unconscionable, unlawful or fraudulent;




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           (e)    Defendants’ acts or practices are unfair to purchasers of Electronic Braking

           Systems (or Vehicles containing them) in the State of California within the meaning

           of Section 17200, California Business and Professions Code;

           (f)    Defendants’ acts and practices are fraudulent or deceptive within the

           meaning of Section 17200 of the California Business and Professions Code.

           (g)    Plaintiffs and members of the Damages Class are entitled to full restitution

           and/or disgorgement of all revenues, earnings, profits, compensation, and benefits

           that may have been obtained by Defendants as a result of such business acts or

           practices.

           (h)    The illegal conduct alleged herein is continuing and there is no indication

           that Defendants will not continue such activity into the future.

           (i)    The unlawful and unfair business practices of Defendants have caused and

           continue to cause Plaintiffs and the members of the Damages Class to pay supra-

           competitive and artificially inflated prices for Electronic Braking Systems (or

           Vehicles containing them). Plaintiffs and the members of the Damages Class

           suffered injury in fact and lost money or property as a result of such unfair

           competition.

           (j)    The conduct of Defendants as alleged in this Complaint violates Section

           17200 of the California Business and Professions Code.

           (k)    As alleged in this Complaint, Defendants and their co-conspirators have

           been unjustly enriched as a result of their wrongful conduct and by Defendants’

           unfair competition. Plaintiffs and the members of the Damages Class are

           accordingly entitled to equitable relief including restitution and/or disgorgement of




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               all revenues, earnings, profits, compensation, and benefits that may have been

               obtained by Defendants as a result of such business practices, pursuant to the

               California Business and Professions Code, Sections 17203 and 17204.

       225.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of District of Columbia Code § 28-3901, et seq.

               (a)    Defendants agreed to, and did in fact, act in restraint of trade or commerce

               by affecting, fixing, controlling and/or maintaining, at artificial and/or non-

               competitive levels, the prices at which Electronic Braking Systems were sold,

               distributed or obtained in the District of Columbia.

               (b)    The foregoing conduct constitutes “unlawful trade practices,” within the

               meaning of D.C. Code § 28-3904. Plaintiffs were not aware of Defendants’ price-

               fixing conspiracy and were therefore unaware that they were being unfairly and

               illegally overcharged. There was a gross disparity of bargaining power between the

               parties with respect to the price charged by Defendants for Electronic Braking

               Systems. Defendants had the sole power to set that price and Plaintiffs had no power

               to negotiate a lower price. Moreover, Plaintiffs lacked any meaningful choice in

               purchasing Electronic Braking Systems because they were unaware of the unlawful

               overcharge and there was no alternative source of supply through which Plaintiffs

               could avoid the overcharges. Defendants’ conduct with regard to sales of Electronic

               Braking Systems, including their illegal conspiracy to secretly fix the price of

               Electronic Braking Systems at supra-competitive levels and overcharge consumers,

               was substantively unconscionable because it was one-sided and unfairly benefited

               Defendants at the expense of Plaintiffs and the public. Defendants took grossly




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               unfair advantage of Plaintiffs. The suppression of competition that has resulted

               from Defendants’ conspiracy has ultimately resulted in unconscionably higher

               prices for consumers so that there was a gross disparity between the price paid and

               the value received for Electronic Braking Systems.

               (c)     Defendants’ unlawful conduct had the following effects: (1) Electronic

               Braking Systems price competition was restrained, suppressed, and eliminated

               throughout the District of Columbia; (2) Electronic Braking Systems prices were

               raised, fixed, maintained, and stabilized at artificially high levels throughout the

               District of Columbia; (3) Plaintiffs and the Damages Class were deprived of free

               and open competition; and (4) Plaintiffs and the Damages Class paid supra-

               competitive, artificially inflated prices for Electronic Braking Systems.

               (d)     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               and members of the Damages Class have been injured and are threatened with

               further injury. Defendants have engaged in unfair competition or unfair or

               deceptive acts or practices in violation of District of Columbia Code § 28-3901, et

               seq., and, accordingly, Plaintiffs and members of the Damages Class seek all relief

               available under that statute.

       226.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Florida Deceptive and Unfair Trade Practices Act,

Fla. Stat. §§ 501.201, et seq.

               (a)     Defendants’ unlawful conduct had the following effects: (1) Electronic

               Braking Systems price competition was restrained, suppressed, and eliminated

               throughout Florida; (2) Electronic Braking Systems prices were raised, fixed,




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               maintained, and stabilized at artificially high levels throughout Florida; (3)

               Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Electronic Braking Systems.

               (b)        During the Class Period, Defendants’ illegal conduct substantially affected

               Florida commerce and consumers.

               (c)        As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               and members of the Damages Class have been injured and are threatened with

               further injury.

               (d)        Defendants have engaged in unfair competition or unfair or deceptive acts

               or practices in violation of Florida Stat. § 501.201, et seq., and, accordingly,

               Plaintiffs and members of the Damages Class seek all relief available under that

               statute.

       227.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Hawaii Revised Statutes Annotated §§ 480-1, et seq.

               (a)        Defendants’ unlawful conduct had the following effects: (1) Electronic

               Braking Systems price competition was restrained, suppressed, and eliminated

               throughout Hawaii; (2) Electronic Braking Systems prices were raised, fixed,

               maintained, and stabilized at artificially high levels throughout Hawaii; (3)

               Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Electronic Braking Systems.




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               (b)        During the Class Period, Defendants’ illegal conduct substantially affected

               Hawaii commerce and consumers.

               (c)        As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               and members of the Damages Class have been injured and are threatened with

               further injury.

               (d)        Defendants have engaged in unfair competition or unfair or deceptive acts

               or practices in violation of Hawaii Rev. Stat. § 480, et seq., and, accordingly,

               Plaintiffs and members of the Damages Class seek all relief available under that

               statute.

       228.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of Mass. G.L. c. 93A, §2.

               (a)        Defendants were engaged in trade or commerce as defined by G.L. c. 93A.

               (b)        Defendants agreed to, and did in fact, act in restraint of trade or commerce

               in a market which includes Massachusetts, by affecting, fixing, controlling and/or

               maintaining at artificial and non-competitive levels, the prices at which Electronic

               Braking Systems were sold, distributed, or obtained in Massachusetts and took

               efforts to conceal their agreements from Plaintiffs and members of the Damages

               Class.

               (c)        Defendants’ unlawful conduct had the following effects: (1) Electronic

               Braking Systems price competition was restrained, suppressed, and eliminated

               throughout Massachusetts; (2) Electronic Braking Systems prices were raised,

               fixed, maintained, and stabilized at artificially high levels throughout

               Massachusetts; (3) Plaintiffs and members of the Damages Class were deprived of




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                free and open competition; and (4) Plaintiffs and members of the Damages Class

                paid supra-competitive, artificially inflated prices for Electronic Braking Systems.

                (d)       As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                and members of the Damages Class were injured and are threatened with further

                injury.

                (e)       Defendants have been or will be served with a demand letter in accordance

                with G.L. c. 93A, § 9, or, upon information and belief, such service of a demand

                letter was unnecessary due to Defendants not maintaining a place of business within

                the Commonwealth of Massachusetts or not keeping assets within the

                Commonwealth. More than thirty days has passed since such demand letters were

                served, and each of Defendants served has failed to make a reasonable settlement

                offer.

                (f)       By reason of the foregoing, Defendants engaged in unfair competition and

                unfair or deceptive acts or practices, in violation of G.L. c. 93A, §2. Defendants

                and their co-conspirators’ violations of Chapter 93A were knowing or willful,

                entitling Plaintiffs and members of the Damages Class to multiple damages.

        229.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Missouri Merchandising Practices Act, Mo. Rev.

Stat. § 407.010, et. seq.

                (a)       Plaintiffs and the Damages Class purchased Electronic Braking Systems for

                personal, family, or household purposes.




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           (b)    Defendants engaged in the conduct described herein in connection with the

           sale of Electronic Braking Systems in trade or commerce in a market that includes

           Missouri.

           (c)    Defendants agreed to, and did in fact, affect, fix, control, and/or maintain,

           at artificial and non-competitive levels, the prices at which Electronic Braking

           Systems were sold, distributed, or obtained in Missouri, which conduct constituted

           unfair practices in that it was unlawful under federal and state law, violated public

           policy, was unethical, oppressive and unscrupulous, and caused substantial injury

           to Plaintiffs and members of the Damages Class.

           (d)    Defendants concealed, suppressed, and omitted to disclose material facts to

           Plaintiffs and members of the Damages Class concerning their unlawful activities

           and artificially inflated prices for Electronic Braking Systems. It concealed,

           suppressed, and omitted facts that would have been important to Plaintiffs and

           members of the Damages Class as they related to the cost of Electronic Braking

           Systems they purchased.

           (e)    Defendants misrepresented the real cause of price increases and/or the

           absence of price reductions in Electronic Braking Systems by making public

           statements that were not in accord with the facts.

           (f)    Defendants’ statements and conduct concerning the price of Electronic

           Braking Systems were deceptive as they had the tendency or capacity to mislead

           Plaintiffs and members of the Damages Class to believe that they were purchasing

           Electronic Braking Systems at prices established by a free and fair market.




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           (g)    Defendants’ unlawful conduct had the following effects: (1) Electronic

           Braking Systems price competition was restrained, suppressed, and eliminated

           throughout Missouri; (2) Electronic Braking Systems prices were raised, fixed,

           maintained, and stabilized at artificially high levels throughout Missouri; (3)

           Plaintiffs and members of the Damages Class were deprived of free and open

           competition; and (4) Plaintiffs and members of the Damages Class paid supra-

           competitive, artificially inflated prices for Electronic Braking Systems.

           (h)    The foregoing acts and practices constituted unlawful practices in violation

           of the Missouri Merchandising Practices Act.

           (i)    As a direct and proximate result of the above-described unlawful practices,

           Plaintiffs and members of the Damages Class suffered ascertainable loss of money

           or property.

           (j)    Accordingly, Plaintiffs and members of the Damages Class seek all relief

           available under Missouri’s Merchandising Practices Act, specifically Mo. Rev.

           Stat. § 407.020, which prohibits “the act, use or employment by any person of any

           deception, fraud, false pretense, false promise, misrepresentation, unfair practice or

           the concealment, suppression, or omission of any material fact in connection with

           the sale or advertisement of any merchandise in trade or commerce…,” as further

           interpreted by the Missouri Code of State Regulations, 15 CSR 60-7.010, et seq.,

           15 CSR 60-8.010, et seq., and 15 CSR 60-9.010, et seq., and Mo. Rev. Stat. §

           407.025, which provides for the relief sought in this count.




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       230.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Montana Consumer Protection Act of 1973, Mont.

Code, §§ 30-14-101, et seq.

               (a)        Defendants’ unlawful conduct had the following effects: (1) Electronic

               Braking Systems competition was restrained, suppressed, and eliminated

               throughout Montana; (2) Electronic Braking Systems prices were raised, fixed,

               maintained, and stabilized at artificially high levels throughout Montana; (3)

               Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Electronic Braking Systems.

               (b)        During the Class Period, Defendants’ illegal conduct substantially affected

               Montana commerce and consumers.

               (c)        As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               and members of the Damages Class have been injured and are threatened with

               further injury.

               (d)        Defendants have engaged in unfair competition or unfair or deceptive acts

               or practices in violation of Mont. Code, §§ 30-14-101, et seq., and, accordingly,

               Plaintiffs and members of the Damages Class seek all relief available under that

               statute.

       231.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the New Mexico Stat. § 57-12-1, et seq.

               (a)        Defendants agreed to, and did in fact, act in restraint of trade or commerce

               by affecting, fixing, controlling and/or maintaining at non-competitive and




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           artificially inflated levels, the prices at which Electronic Braking Systems were

           sold, distributed or obtained in New Mexico and took efforts to conceal their

           agreements from Plaintiffs and members of the Damages Class.

           (b)    The aforementioned conduct on the part of Defendants constituted

           “unconscionable trade practices,” in violation of N.M.S.A. Stat. § 57-12-3, in that

           such conduct, inter alia, resulted in a gross disparity between the value received by

           Plaintiffs and the members of the Damages Class and the prices paid by them for

           Electronic Braking Systems as set forth in N.M.S.A., § 57-12-2E. Plaintiffs were

           not aware of Defendants’ price-fixing conspiracy and were therefore unaware that

           they were being unfairly and illegally overcharged. There was a gross disparity of

           bargaining power between the parties with respect to the price charged by

           Defendants for Electronic Braking Systems. Defendants had the sole power to set

           that price and Plaintiffs had no power to negotiate a lower price. Moreover,

           Plaintiffs lacked any meaningful choice in purchasing Electronic Braking Systems

           because they were unaware of the unlawful overcharge and there was no alternative

           source of supply through which Plaintiffs could avoid the overcharges. Defendants’

           conduct with regard to sales of Electronic Braking Systems, including their illegal

           conspiracy to secretly fix the price of Electronic Braking Systems at supra-

           competitive levels and overcharge consumers, was substantively unconscionable

           because it was one-sided and unfairly benefited Defendants at the expense of

           Plaintiffs and the public. Defendants took grossly unfair advantage of Plaintiffs.

           The suppression of competition that has resulted from Defendants’ conspiracy has

           ultimately resulted in unconscionably higher prices for consumers so that there was




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               a gross disparity between the price paid and the value received for Electronic

               Braking Systems.

               (c)        Defendants’ unlawful conduct had the following effects: (1) Electronic

               Braking Systems price competition was restrained, suppressed, and eliminated

               throughout New Mexico; (2) Electronic Braking Systems prices were raised, fixed,

               maintained, and stabilized at artificially high levels throughout New Mexico; (3)

               Plaintiffs and the members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and the members of the Damages Class paid supra-

               competitive, artificially inflated prices for Electronic Braking Systems.

               (d)        During the Class Period, Defendants’ illegal conduct substantially affected

               New Mexico commerce and consumers.

               (e)        As a direct and proximate result of the unlawful conduct of Defendants,

               Plaintiffs and the members of the Damages Class have been injured and are

               threatened with further injury.

               (f)        Defendants have engaged in unfair competition or unfair or deceptive acts

               or practices in violation of New Mexico Stat. § 57-12-1, et seq., and, accordingly,

               Plaintiffs and the members of the Damages Class seek all relief available under that

               statute.

       232.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of N.Y. Gen. Bus. Law § 349, et seq.

               (a)        Defendants agreed to, and did in fact, act in restraint of trade or commerce

               by affecting, fixing, controlling and/or maintaining, at artificial and non-

               competitive levels, the prices at which Electronic Braking Systems were sold,




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           distributed or obtained in New York and took efforts to conceal their agreements

           from Plaintiffs and members of the Damages Class.

           (b)    Defendants and their co-conspirators made public statements about the

           prices of Electronic Braking Systems and products containing Electronic Braking

           Systems that Defendants knew would be seen by New York consumers; such

           statements either omitted material information that rendered the statements that

           they made materially misleading or affirmatively misrepresented the real cause of

           price increases for Electronic Braking Systems and products containing Electronic

           Braking Systems; and Defendants alone possessed material information that was

           relevant to consumers, but failed to provide the information.

           (c)    Because of Defendants’ unlawful trade practices in the State of New York,

           New York consumer class members who indirectly purchased Electronic Braking

           Systems were misled to believe that they were paying a fair price for Electronic

           Braking Systems or the price increases for Electronic Braking Systems were for

           valid business reasons; and similarly situated consumers were potentially affected

           by Defendants’ conspiracy.

           (d)    Defendants knew that their unlawful trade practices with respect to pricing

           Electronic Braking Systems would have an impact on New York consumers and

           not just Defendants’ direct customers.

           (e)    Defendants knew that their unlawful trade practices with respect to pricing

           Electronic Braking Systems would have a broad impact, causing consumer class

           members who indirectly purchased Electronic Braking Systems to be injured by




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           paying more for Electronic Braking Systems than they would have paid in the

           absence of Defendants’ unlawful trade acts and practices.

           (f)    The conduct of Defendants described herein constitutes consumer-oriented

           deceptive acts or practices within the meaning of N.Y. Gen. Bus. Law § 349, which

           resulted in consumer injury and broad adverse impact on the public at large and

           harmed the public interest of New York State in an honest marketplace in which

           economic activity is conducted in a competitive manner.

           (g)    Defendants’ unlawful conduct had the following effects: (1) Electronic

           Braking Systems price competition was restrained, suppressed, and eliminated

           throughout New York; (2) Electronic Braking Systems prices were raised, fixed,

           maintained, and stabilized at artificially high levels throughout New York; (3)

           Plaintiffs and members of the Damages Class were deprived of free and open

           competition; and (4) Plaintiffs and members of the Damages Class paid supra-

           competitive, artificially inflated prices for Electronic Braking Systems.

           (h)    During the Class Period, Defendants marketed, sold, or distributed

           Electronic Braking Systems in New York, and Defendants’ illegal conduct

           substantially affected New York commerce and consumers.

           (i)    During the Class Period, each of Defendants named herein, directly, or

           indirectly and through affiliates they dominated and controlled, manufactured, sold

           and/or distributed Electronic Braking Systems in New York.

           (j)    Plaintiffs and members of the Damages Class seek all relief available

           pursuant to N.Y. Gen. Bus. Law § 349 (h).




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       233.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq.

               (a)     Defendants agreed to, and did in fact, act in restraint of trade or commerce

               by affecting, fixing, controlling and/or maintaining, at artificial and non-

               competitive levels, the prices at which Electronic Braking Systems were sold,

               distributed or obtained in North Carolina and took efforts to conceal their

               agreements from Plaintiffs and members of the Damages Class.

               (b)     Defendants’ price-fixing conspiracy could not have succeeded absent

               deceptive conduct by Defendants to cover up their illegal acts. Secrecy was integral

               to the formation, implementation and maintenance of Defendants’ price-fixing

               conspiracy. Defendants committed inherently deceptive and self-concealing

               actions, of which Plaintiffs could not possibly have been aware. Defendants and

               their co-conspirators publicly provided pre-textual and false justifications regarding

               their price increases. Defendants’ public statements concerning the price of

               Electronic Braking Systems created the illusion of competitive pricing controlled

               by market forces rather than supra-competitive pricing driven by Defendants’

               illegal conspiracy. Moreover, Defendants deceptively concealed their unlawful

               activities by mutually agreeing not to divulge the existence of the conspiracy to

               outsiders, conducting meetings and conversations in secret, confining the plan to a

               small group of higher-level officials at each company and avoiding the creation of

               documents which would reveal the antitrust violations.

               (c)     The conduct of Defendants described herein constitutes consumer-oriented

               deceptive acts or practices within the meaning of North Carolina law, which




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           resulted in consumer injury and broad adverse impact on the public at large and

           harmed the public interest of North Carolina consumers in an honest marketplace

           in which economic activity is conducted in a competitive manner.

           (d)     Defendants’ unlawful conduct had the following effects: (1) Electronic

           Braking Systems price competition was restrained, suppressed, and eliminated

           throughout North Carolina; (2) Electronic Braking Systems prices were raised,

           fixed, maintained, and stabilized at artificially high levels throughout North

           Carolina; (3) Plaintiffs and members of the Damages Class were deprived of free

           and open competition; and (4) Plaintiffs and members of the Damages Class paid

           supra-competitive, artificially inflated prices for Electronic Braking Systems.

           (e)     During the Class Period, Defendants marketed, sold, or distributed

           Electronic Braking Systems in North Carolina, and Defendants’ illegal conduct

           substantially affected North Carolina commerce and consumers.

           (f)     During the Class Period, Defendants, directly, or indirectly and through

           affiliates they dominated and controlled, manufactured, sold and/or distributed

           Electronic Braking Systems in North Carolina.

           (g)     Plaintiffs and members of the Damages Class seek actual damages for their

           injuries caused by these violations in an amount to be determined at trial and are

           threatened with further injury. Defendants have engaged in unfair competition or

           unfair or deceptive acts or practices in violation of North Carolina Gen. Stat. § 75-

           1.1, et seq., and, accordingly, Plaintiffs and members of the Damages Class seek

           all relief available under that statute.




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       234.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Rhode Island Unfair Trade Practice and Consumer

Protection Act, R.I. Gen. Laws §§ 6-13.1-1, et seq.

               (a)    Members of this Damages Class purchased Electronic Braking Systems for

               personal, family, or household purposes.

               (b)    Defendants agreed to, and did in fact, act in restraint of trade or commerce

               in a market that includes Rhode Island, by affecting, fixing, controlling, and/or

               maintaining, at artificial and non-competitive levels, the prices at which Electronic

               Braking Systems were sold, distributed, or obtained in Rhode Island.

               (c)    Defendants deliberately failed to disclose material facts to Plaintiffs and

               members of the Damages Class concerning their unlawful activities and artificially

               inflated prices for Electronic Braking Systems. Defendants owed a duty to disclose

               such facts and considering the relative lack of sophistication of the average, non-

               business consumer, they breached that duty by their silence. Defendants

               misrepresented to all consumers during the Class Period that their Electronic

               Braking Systems prices were competitive and fair.

               (d)    Defendants’ unlawful conduct had the following effects: (1) Electronic

               Braking Systems price competition was restrained, suppressed, and eliminated

               throughout Rhode Island; (2) Electronic Braking Systems prices were raised, fixed,

               maintained, and stabilized at artificially high levels throughout Rhode Island; (3)

               Plaintiffs and members of the Damages Class were deprived of free and open

               competition; and (4) Plaintiffs and members of the Damages Class paid supra-

               competitive, artificially inflated prices for Electronic Braking Systems.




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              (e)     As a direct and proximate result of Defendants’ violations of law, Plaintiffs

              and members of the Damages Class suffered an ascertainable loss of money or

              property as a result of Defendants’ use or employment of unconscionable and

              deceptive commercial practices as set forth above. That loss was caused by

              Defendants’ willful and deceptive conduct, as described herein.

              (f)     Defendants’ deception, including their affirmative misrepresentations and

              omissions concerning the price of Electronic Braking Systems, likely misled all

              consumers acting reasonably under the circumstances to believe that they were

              purchasing Electronic Braking Systems at prices set by a free and fair market.

              Defendants’ affirmative misrepresentations and omissions constitute information

              important to Plaintiffs and members of the Damages Class as they related to the

              cost of Electronic Braking Systems they purchased.

              (g)     Defendants have engaged in unfair competition or unfair or deceptive acts

              or practices in violation of Rhode Island Gen. Laws. § 6-13.1-1, et seq., and,

              accordingly, Plaintiffs and members of the Damages Class seek all relief available

              under that statute.

       235.   Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of South Carolina Unfair Trade Practices Act, S.C. Code

Ann. §§ 39-5-10, et seq.

              (a)     Defendants’ combination or conspiracy had the following effects: (1)

              Electronic Braking Systems price competition was restrained, suppressed, and

              eliminated throughout South Carolina; (2) Electronic Braking Systems prices were

              raised, fixed, maintained, and stabilized at artificially high levels throughout South




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               Carolina; (3) Plaintiffs and members of the Damages Class were deprived of free

               and open competition; and (4) Plaintiffs and members of the Damages Class paid

               supra-competitive, artificially inflated prices for Electronic Braking Systems.

               (b)        During the Class Period, Defendants’ illegal conduct had a substantial effect

               on South Carolina commerce.

               (c)        As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

               and members of the Damages Class have been injured in their business and property

               and are threatened with further injury.

               (d)        Defendants have engaged in unfair competition or unfair or deceptive acts

               or practices in violation of S.C. Code Ann. §§ 39-5-10, et seq., and, accordingly,

               Plaintiffs and the members of the Damages Class seek all relief available under that

               statute.

       236.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of 9 Vermont § 2451, et seq.

               (a)        Defendants agreed to, and did in fact, act in restraint of trade or commerce

               in a market that includes Vermont by affecting, fixing, controlling, and/or

               maintaining, at artificial and non-competitive levels, the prices at which Electronic

               Braking Systems were sold, distributed, or obtained in Vermont.

               (b)        Defendants deliberately failed to disclose material facts to Plaintiffs and

               members of the Damages Class concerning their unlawful activities and artificially

               inflated prices for Electronic Braking Systems. Defendants owed a duty to disclose

               such facts and considering the relative lack of sophistication of the average, non-

               business consumer, Defendants breached that duty by their silence. Defendants




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           misrepresented to all consumers during the Class Period that their Electronic

           Braking Systems prices were competitive and fair.

           (c)     Defendants’ unlawful conduct had the following effects: (1) Electronic

           Braking Systems price competition was restrained, suppressed, and eliminated

           throughout Vermont; (2) Electronic Braking Systems prices were raised, fixed,

           maintained, and stabilized at artificially high levels throughout Vermont; (3)

           Plaintiffs and members of the Damages Class were deprived of free and open

           competition; and (4) Plaintiffs and members of the Damages Class paid supra-

           competitive, artificially inflated prices for Electronic Braking Systems.

           (d)     As a direct and proximate result of Defendants’ violations of law, Plaintiffs

           and members of the Damages Class suffered an ascertainable loss of money or

           property as a result of Defendants’ use or employment of unconscionable and

           deceptive commercial practices as set forth above. That loss was caused by

           Defendants’ willful and deceptive conduct, as described herein.

           (e)     Defendants’ deception, including their affirmative misrepresentations and

           omissions concerning the prices of Electronic Braking Systems, likely misled all

           purchasers acting reasonably under the circumstances to believe that they were

           purchasing Electronic Braking Systems at prices set by a free and fair market.

           Defendants’ misleading conduct and unconscionable activities constitutes unfair

           competition or unfair or deceptive acts or practices in violation of 9 Vermont §

           2451, et seq., and, accordingly, Plaintiffs and members of the Damages Class seek

           all relief available under that statute.




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                                FOURTH CLAIM FOR RELIEF
                                        Unjust Enrichment
                          (on behalf of Plaintiffs and the Damages Class)

       237.      Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       238.      Plaintiffs bring this claim under the laws of all states listed in the Second and Third

Claims, supra.

       239.      As a result of their unlawful conduct described above, Defendants have and will

continue to be unjustly enriched. Defendants have been unjustly enriched by the receipt of, at a

minimum, unlawfully inflated prices and unlawful profits on sales of Electronic Braking Systems

       240.      Defendants have benefited from their unlawful acts, and it would be inequitable for

Defendants to be permitted to retain any of the ill-gotten gains resulting from the overpayments

made by Plaintiffs or the members of the Damages Class for Electronic Braking Systems.

       241.      Plaintiffs and the members of the Damages Class are entitled to the amount of

Defendants’ ill-gotten gains resulting from their unlawful, unjust, and inequitable conduct.

Plaintiffs and the members of the Damages Class are entitled to the establishment of a constructive

trust consisting of all ill-gotten gains from which Plaintiffs and the members of the Damages Class

may make claims on a pro rata basis.

       242.      Pursuit of any remedies against the firms from which Plaintiffs and the members of

the Damages Class purchased Vehicles containing Electronic Braking Systems subject to

Defendants’ conspiracy would have been futile.

                                      PRAYER FOR RELIEF

Accordingly, Plaintiffs respectfully request that:

       243.      The Court determine that this action may be maintained as a class action under Rule

23(a), (b)(2) and (b)(3) and direct that reasonable notice of this action, as provided by Rule

23(c)(2), be given to each and every member of the Classes;


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       244.    That the unlawful conduct, contract, conspiracy, or combination alleged herein be

adjudged and decreed:

               (a)      An unreasonable restraint of trade or commerce in violation of Section 1 of

               the Sherman Act;

               (b)      A per se violation of Section 1 of the Sherman Act; and

               (c)      An unlawful combination, trust, agreement, understanding and/or concert

               of action in violation of the state antitrust and unfair competition and consumer

               protection laws as set forth herein.

               (d)      Acts of unjust enrichment by Defendants as set forth herein.

       245.    Plaintiffs and the members of the Damages Class recover damages, to the maximum

extent allowed under such laws, and that a joint and several judgment in favor of Plaintiffs and the

members of the Damages Class be entered against Defendants in an amount to be trebled to the

extent such laws permit;

       246.    Plaintiffs and the members of the Damages Class recover damages, to the maximum

extent allowed by such laws, in the form of restitution and/or disgorgement of profits unlawfully

gained from them;

       247.    Defendants, their affiliates, successors, transferees, assignees and other officers,

directors, partners, agents and employees thereof, and all other persons acting or claiming to act

on their behalf or in concert with them, be permanently enjoined and restrained from in any manner

continuing, maintaining or renewing the conduct, contract, conspiracy, or combination alleged

herein, or from entering into any other contract, conspiracy, or combination having a similar

purpose or effect, and from adopting or following any practice, plan, program, or device having a

similar purpose or effect;




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       248.    Plaintiffs and the members of the Damages Class be awarded restitution, including

disgorgement of profits Defendants obtained as a result of their acts of unfair competition and acts

of unjust enrichment;

       249.    Plaintiffs and the members of the Classes be awarded pre- and post- judgment

interest as provided by law, and that such interest be awarded at the highest legal rate from and

after the date of service of this Complaint;

       250.    Plaintiffs and the members of the Classes recover their costs of suit, including

reasonable attorneys’ fees, as provided by law; and

       251.    Plaintiffs and members of the Classes have such other and further relief as the case

may require and the Court may deem just and proper.



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                                       JURY DEMAND

      Plaintiffs demand a trial by jury, pursuant to Rule 38(b), of all issues so triable.



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                               CERTIFICATE OF SERVICE

       I hereby certify that on August 26, 2021, I caused the foregoing to be electronically filed

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to all counsel of record.

                                                /s/ E. Powell Miller
                                                E. Powell Miller




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